Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 1 of 59 PageID: 445




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                       FOR THE DISTRICT OF NEW JERSEY


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 KENNETH GAGNON, MICHAEL CERNY,
 ERHAN ARAT, ANDRE MALSKE, CRAIG
 LASH,         NICOLE          GUY, DAVID
 RICHARDSON, KAREN HENDERSON and               Case No. 2:17-cv-7386-WHW-CLW
 ERIC T. ZINN, individually and on behalf of
 all others similarly situated,

                            Plaintiffs,

              v.

 BAYERISCHE    MOTOREN   WERKE
 AKTIENGESELLSCHAFT and BMW OF
 NORTH AMERICA, LLC,

                            Defendants.


                   BRIEF IN SUPPORT OF
        DEFENDANT BMW OF NORTH AMERICA, LLC’S
   MOTION TO DISMISS PLAINTIFFS’ CONSOLIDATED AMENDED
                CLASS ACTION COMPLAINT
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 2 of 59 PageID: 446




                                         TABLE OF CONTENTS
PRELIMINARY STATEMENT ............................................................................... 1

STATEMENT OF FACTS ........................................................................................2

STANDARD GOVERNING MOTION TO DISMISS ............................................. 7

LEGAL ARGUMENT ...............................................................................................8
Point One: A Class Action is Unnecessary Because BMW NA Is
   Offering Relief. .....................................................................................................8

Point Two: Plaintiffs Cannot Pursue a Nationwide Class Action Under
   New Jersey Law. .................................................................................................10

         A. Plaintiffs Cannot Pursue Nationwide Breach-of-Warranty
            Claims Under New Jersey Law. .......................................................... 12
         B.     Plaintiffs Cannot Pursue Nationwide Consumer-Fraud
                Claims Under New Jersey Law. .......................................................... 13

         C.     Plaintiffs Cannot Pursue Nationwide Negligent-
                Misrepresentation Claims Under New Jersey Law. ............................ 15

         D. Plaintiffs Cannot Pursue Nationwide Unjust-Enrichment
            Claims Under New Jersey Law. .......................................................... 16

Point Three: Plaintiffs’ Warranty Claims Fail. ........................................................17
         A. Regardless of What State’s Law Applies, Plaintiffs Cannot
            Pursue Claims for Breach of an Expired Warranty. ............................ 17

         B.     Plaintiffs’ Implied-Warranty Claims Additionally Fail
                Because They Do Not Plausibly Allege Their Vehicles
                Were Not Merchantable at the Time of Sale. ...................................... 20

Point Four: Plaintiffs’ Magnusson-Moss Claims Fail. ............................................22

Point Five: All But One Of Plaintiffs’ Statutory Consumer-Fraud
   Claims Fail. .........................................................................................................24

Point Six: Plaintiffs’ Negligent Misrepresentation Claims Fail. .............................26



                                                            i
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 3 of 59 PageID: 447




         A. Plaintiffs’ Claims for Negligent Misrepresentation Fail
            Under Florida, California, and North Carolina Law. .......................... 27

         B.     Plaintiffs’ Claims for Negligent Misrepresentation Fail
                Under the Laws of the Remaining Plaintiffs’ States
                Because BMW NA Did Not Have a Duty to Disclose
                Imposed by Law. .................................................................................. 28

         C.     Plaintiffs’ Claims for Negligent Misrepresentation Are
                Additionally Barred By The Economic-Loss Doctrine. ...................... 31

Point Seven: Plaintiffs’ Unjust-Enrichment Claims Fail. ........................................33

Point Eight: Plaintiffs’ Claims for Injunctive and Declaratory Relief
   are Moot and Duplicative of Their Legal Claims and Should be
   Dismissed. ...........................................................................................................35

Point Nine: Various of the Plaintiffs’ Claims Fail and Should be
   Dismissed. ...........................................................................................................37

         A. The Claims of Gelis, Henderson, and Lash Should be
            Dismissed. ............................................................................................ 37

         B.     The Claims of Zinn and Richardson Should be Dismissed. ................ 38

         C.     Plaintiff Malske’s Claim Under the Wisconsin Deceptive
                Trade Practices Act Should Be Dismissed. ......................................... 39

         D. Plaintiff Stovall’s Claim Under the Alabama Deceptive
            Trade Practices Act Should Be Dismissed. ......................................... 39

CONCLUSION ........................................................................................................40




                                                            ii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 4 of 59 PageID: 448




                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)

Cases
Abraham v. Volkswagen of Am., Inc.,
  795 F. 2d 238 (2d Cir. 1986) ..................................................................19, 20, 25

Aclys Int’l v. Equifax,
   438 F. App’x 689 (10th Cir. 2011) (Utah law) ...................................................32

In re Actiq Sales and Marketing Practices Litig.,
    307 F. R.D. 150 (E.D. Pa. 2014).........................................................................18

Alban v. BMW of N. Am., LLC,
   2010 WL 3636253 (D.N.J. Sept. 8, 2010) ..............................................19, 27, 28

Alin v. Am. Honda Motor Co.,
   2010 WL 1372308 (D.N.J. Mar. 31, 2010) ..................................................31, 33

Alloway v. Gen. Marine Indus., L.P.,
   149 N.J. 620 (1997) ............................................................................................34

Am. Honda Motor Co., Inc. v. Motorcycle Info. Network, Inc.,
  390 F. Supp. 2d 1170 (M.D. Fla. 2005)..............................................................36

Annunziato v. eMachines, Inc.,
  402 F. Supp. 2d 1133 (C.D. Cal. 2005) ..............................................................24
Apollo Capital Fund, LLC v. Roth Capital Partners, LLC,
  70 Cal. Rptr. 3d 199 (Cal. Ct. App. 2007) ..........................................................30

In re Aqua Dots Prod. Liab. Litig.,
    654 F.3d 748 (7th Cir. 2011) ..............................................................................10

In re Aqua Dots Prods. Liab. Litig.,
    270 F.R.D. 377 (N.D. Ill. 2010)..........................................................................18

Arlandson v. Hartz Mountain Corp.,
   792 F. Supp. 2d 691 (D.N.J. 2012) .....................................................................18
Arndt v. Extreme Motorcycles,
   2007 WL 4570861 (W.D.N.C. Dec. 26, 2007) ...................................................23

                                                         iii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 5 of 59 PageID: 449




Arons v. Rite-Aid Corp.,
   2005 WL 975462 (N.J. Super. Law Div. March 23, 2005) ................................13

Aronstein v. Mass. Mut. Life Ins. Co.,
   2016 WL 1626835 (D. Mass. Apr. 22, 2016) .....................................................37

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ..............................................................................................8

Avery v. State Farm Mut. Auto. Ins. Co.,
   835 N.E.2d 801 (Ill. 2005) ..................................................................................15

Avram v. Samsung Elecs. Am., Inc.,
   2013 WL 3654080 (D.N.J. July 11, 2013) .........................................................16

Barcal v. Emd Serono, Inc.,
  2016 WL 1086028 (N.D. Ala. Mar. 21, 2016) ...................................................27
Bedi v. BMW of N. Am., LLC,
  2016 WL 324950 (D.N.J. Jan. 27, 2016) ............................................................16
Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) ..............................................................................................8

Benson Tower Condo. Owners Ass’n v. Victaulic Co.,
  2014 WL 5285475 (D. Or. Oct. 15, 2014)..........................................................19
Berley v. Dreyfus Co.,
   43 F.R.D. 397 (S.D.N.Y. 1967) ..........................................................................11
Betty Andrews Revocable Tr. v. Vrakas/Blum, S.C.,
   779 N.W.2d 723 (Wis. App. Ct. 2009) ...............................................................33

Block v. Jaguar Land Rover N. Am., LLC,
   2016 WL 3032682 (D.N.J. May 26, 2016) .........................................................16

Bonham v. Wolf Creek Acad.,
  767 F. Supp. 2d 558 (W.D.N.C. 2011) ...............................................................30

Boyes v. Greenwich Boat Works, Inc.,
  27 F. Supp. 2d 543 (D.N.J. 1998) .......................................................................34




                                                         iv
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 6 of 59 PageID: 450




Breeden v. Richmond Cmty. Coll.,
   171 F.R.D. 189 (M.D.N.C. 1997) .......................................................................30

Brisson v. Ford Motor Co.,
   349 F. App’x 433 (11th Cir. 2009) .....................................................................22

Brooks v. Blue Cross & Blue Shield of Fla., Inc.,
   116 F.3d 1364 (11th Cir. 1997) ..........................................................................26

In re Burlington Coat Factory Sec. Litig.,
   114 F.3d 1410 (3d Cir. 1997) .............................................................................21

Byrum v. Brand,
   268 Cal. Rptr. 609 (Cal. Ct. App. 1990) .............................................................33

Canal Elec. Co. v. Westinghouse Elec. Co.,
  973 F.2d 988 (1st Cir.1992) ................................................................................19
In re Carrier IQ, Inc., Consumer Privacy Litig.,
    2015 WL 274054 (N.D. Cal. Jan. 21, 2015) .......................................................12
Carter v. L’Oreal USA, Inc.,
  2017 WL 3891666 (S.D. Ala. Sept. 6, 2017) .....................................................36

Cent. Min., Inc. v. Simmons Mach. Co.,
  547 So. 2d 529 (Ala. 1989) .................................................................................19
Chin v. Chrysler Corp.,
  182 F.R.D. 448 (D.N.J. 1998).......................................................................11, 14
CHMM, LLC v. Freeman Marine Equip., Inc.,
  2013 WL 3025137 (D. Or. May 14, 2013) .........................................................41

Cleary v. Philip Morris, Inc.,
   656 F.3d 511 (7th Cir. 2011) ..............................................................................38

Clemens v. DaimlerChrysler Corp.,
   534 F.3d 1017 (9th Cir. 2008) ............................................................................26

Coba v. Ford Motor Co.,
  2013 WL 244687 (D.N.J. Jan. 22, 2013) ............................................................33




                                                       v
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 7 of 59 PageID: 451




Coghlan v. Wellcraft Marine Corp.,
  240 F.3d 449 (5th Cir. 2001) ..............................................................................37

Cole v. GMC,
  484 F.3d 717 (5th Cir. 2007) ..............................................................................13

Collins Radio Co. of Dallas, Tex. v. Bell,
  623 P.2d 1039 (Okla. Civ. App. 1980) ...............................................................24

Collins v. Sears, Roebuck & Co.,
  583 N.E.2d 873 (Mass. App. Ct. 1992) ..............................................................23

Commercial Fin. Servs., Inc. v. Arthur Andersen LLP,
  94 P.3d 106 (Okla. Civ. App. 2004) .............................................................33, 35

In re Conagra Peanut Butter Prod. Liab. Litig.,
   251 F.R.D. 689 (N.D. Ga. 2008) ..................................................................11, 18
Conrad v. Boiron, Inc.,
  869 F.3d 536 (7th Cir. 2017) ..............................................................................10
Cook’s Pest Control, Inc. v. Rebar,
  28 So. 3d 716 (Ala. 2009) ...................................................................................32

Cooper v. Samsung Elecs. Am., Inc.,
  374 F. App’x 250 (3d Cir. 2010) ........................................................................26
Cooper v. Samsung Electronics America, Inc.,
  374 Fed. Appx. 250 (3d Cir. 2010) .....................................................................12
Cox v. Chrysler Grp., LLC,
  2015 WL 5771400 (D.N.J. Sept. 30, 2015) ........................................................12

Daigle v. Ford Motor Co.,
  2012 WL 3113854 (D. Minn. July 31, 2012) .....................................................10

Daugherty v. Am. Honda Motor Co.,
  51 Cal. Rptr. 3d 118 (Cal. Ct. App. 2006) ..........................................................19

Diediker v. Peelle Fin. Corp.,
   70 Cal. Rptr. 2d 442 (Cal Ct. App. 1997) ...........................................................30




                                                       vi
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 8 of 59 PageID: 452




Dinwiddie v. Suzuki Motor of Am., Inc.,
   111 F. Supp. 3d 1202 (W.D. Okla. 2015) ...........................................................19

Donachy v. Intrawest U.S. Holdings, Inc.,
  2012 WL 869007 (D.N.J. Mar. 14, 2012) ..........................................................17

Donner v. Nicklaus,
  778 F.3d 857 (10th Cir. 2015) ............................................................................35

Dougherty v. Akzo Nobel Salt, Inc.,
  47 F. Supp. 2d 989 (N.D. Ill. 1999) ....................................................................32

Duquesne Light Co. v. Westinghouse Elec. Corp.,
  66 F.3d 604 (3d Cir. 1995) .................................................................................19

Elias v. Ungar’s Food Prods., Inc.,
   252 F.R.D. 233 (D.N.J. 2008).............................................................................17
Evitts v. DaimlerChrysler Motor Corp.,
   834 N.E.2d 942 (Ill. App. Ct. 2005) ...................................................................19
F.D.I.C. v. Bathgate,
   27 F.3d 850 (3d Cir. 1994) .................................................................................26

Fancaster, Inc. v. Comcast Corp.,
  832 F. Supp. 2d 380 (D.N.J. 2011) .....................................................................40
FDIC v. Aviano,
  184 F. Supp. 3d 1276 (D. Utah 2016).................................................................37
Ferrari v. Best Buy Co.,
   2015 WL 2242128 (D. Minn. May 12, 2015) ....................................................12

Fiberglass Component Production, Inc. v. Reichhold Chem., Inc.,
   983 F. Supp. 948 (D. Colo. 1997).......................................................................41

First Marblehead Corp. v. House,
   473 F.3d 1 (1st Cir. 2006) ...................................................................................32

Fisher v. Honda North America, Inc.,
   2014 WL 2808188 (S.D. Cal. June 2, 2014) ......................................................26




                                                       vii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 9 of 59 PageID: 453




In re Ford Motor Co. Ignition Switch Prod. Liab. Litig.,
    194 F.R.D. 484 (D.N.J. 2000).............................................................................14

In re Ford Motor Co. Ignition Switch Prods. Liab. Litig.,
    174 F.R.D. 332 (D.N.J. 1997).............................................................................12

Fowler v. UPMC Shadyside,
  578 F.3d 203 (3d Cir. 2009) .......................................................................8, 9, 10

Frick Co. v. Boles,
   84 S.E. 1017 (N.C. 1915)....................................................................................19

Goldemburg v. J&J Consumer Cos.,
  8 F. Supp. 3d 467 (S.D.N.Y. 2014) ....................................................................37

Granfield v. NVIDIA Corp.,
  2012 WL 2847575 (N.D. Cal. July 11, 2012) ....................................................13
Gray v. BMW of N. Am., LLC,
  22 F. Supp. 3d 373 (D.N.J. 2014) .................................................................12, 37
Green v. GMC,
  2003 WL 21730592 (N.J. Sup. Ct. App. Div. July 10, 2003) ............................33

Green v. Green Mountain Coffee Roasters,
  279 F.R.D. 275 (D.N.J. 2011).............................................................................41
Greene v. BMW of N. Am., LLC,
  2012 WL 5986457 (D.N.J. Nov. 28, 2012) ........................................................22
Grodzitsky v. American Honda Motor Co., Inc.,
  2013 WL 690822 (C.D. Cal. Feb. 19, 2013) ......................................................28

H. Rosenblum, Inc. v. Adler,
   93 N.J. 324 (1983), superseded on other grounds by statute, Cast
   Art Industries, LLC v. KPMG LLP, 209 N.J. 208 (2012) ...................................31
Harley Marine Svs., Inc. v. Manitowoc Marine Grp., LLC,
  759 F. Supp. 2d 1059 (E.D. Wis. 2010) .............................................................37
Harney v. Associated Materials, LLC,
  2018 WL 468303 (D. Or. Jan. 18, 2018) ............................................................37



                                                      viii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 10 of 59 PageID: 454




HCM High Yield Opportunity Fund, LP v. Skandinaviska Enskilda
  Banken AB,
  2001 WL 36186526 (S.D. Fla. Dec. 14, 2001)...................................................29

Henderson v. Volvo Cars of N. Am., LLC,
  2010 WL 2925913 (D.N.J. July 21, 2010) .........................................................33
Huber, Hunt & Nichols, Inc. v. Moore,
  136 Cal. Rptr. 603 (Cal. Ct. App. 1977) .............................................................30

Husky Indus., Inc. v. Black,
  434 So. 2d 988 (Fla. Dist. Ct. App. 1983) ..........................................................23
In Blumer v. Acu-Gen Biolabs, Inc.,
   638 F. Supp. 2d 81 (D. Mass. 2009) ...................................................................25

Interbank Investments, LLC v. Eagle River Water & San. Dist.,
   77 P.3d 814 (Colo. App. 2003) ...........................................................................36
Ironshore Europe DAC v. Schiff Hardin, LLP,
   284 F. Supp. 3d 845 (E.D. Tex. 2018)................................................................32
Jackson v. Philip Morris Inc.,
   46 F. Supp. 2d 1217 (D. Utah 1998)...................................................................26

JJM Sunrise Auto., LLC v. Volkswagen Grp. of Am., Inc.,
  46 Misc. 3d 755 (N.Y. Sup. Ct. 2014) ................................................................32

Jovine v. Abbott Labs., Inc.,
   795 F. Supp. 2d 1331 (S.D. Fla. 2011) .........................................................26, 36

Kailin v. Armstrong,
  643 N.W.2d 132 (Wis. App. Ct. 2002) ...............................................................36

Kearney v. Equilon Enters., LLC,
  65 F. Supp. 3d 1033 (D. Or. 2014) .....................................................................26

Kelly v. Georgia-Pacific, LLC,
   671 F. Supp. 2d 785 (E.D.N.C. 2009) ................................................................35

Koch v. Kaz USA, Inc.,
  2011 WL 2607112 (D. Colo. July 1, 2011) ........................................................23



                                                     ix
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 11 of 59 PageID: 455




Lipinski v. Martin J. Kelly Oldsmobile, Inc.,
   759 N.E.2d 66 (Ill. App. Ct. 2001) .....................................................................22

Loosli v. City of Salem,
  170 P.3d 1084 (Or. App. Ct. 2007) (en banc), aff’d, 193 P.3d 623
  (Or. 2008)............................................................................................................35
Luppino v. Mercedes-Benz USA, LLC,
  2010 WL 3258259 (D.N.J. Aug. 16, 2010) ........................................................28

Maniscalco v. Brother Int’l Corp. (USA),
  627 F. Supp. 2d 494 (D.N.J. 2009) ...................................................37, 39, 40, 41
Maniscalco v. Brother Int’l (USA) Corp.,
  709 F.3d 202 (3d Cir. 2013) .........................................................................14, 15

Marchante v. Sony Corp. of Am.,
  801 F. Supp. 2d 1013 (S.D. Cal. 2011)...............................................................22
Marcus v. BMW of N. Am., LLC,
  2010 WL 4853308 (D.N.J. Nov. 19, 2010) ..................................................14, 25
Martin v. Mead Johnson Nutrition Co.,
  2010 WL 3928707 (D. Mass. Sept. 30, 2010) ....................................................26

Martinez v. Nash Finch Co.,
  886 F. Supp. 2d 1212 (D. Colo. 2012)................................................................26

Masood v. Safeco Ins. Co. of Oregon,
  365 P.3d 540 (Or. App. Ct. 2015).......................................................................33

Mazza v. Am. Honda Motor Co.,
  666 F.3d 581 (9th Cir. 2012) ..............................................................................18

McCalley v. Samsung Electronics America, Inc.,
  2008 WL 878402 (D.N.J. Mar. 31, 2008) ..........................................................21

McClellan v. Feit,
  376 N.J. Super. 305 (App. Div. 2005) ................................................................31

McGuire v. BMW of N. Am., LLC,
  2014 WL 2566132 (D.N.J. June 6, 2014) ...........................................................12



                                                            x
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 12 of 59 PageID: 456




McQueen BMW of N. Am., LLC,
  2014 WL 656619 (D.N.J. Feb. 20, 2014) ...........................................................28

In re Mercedes-Benz TeleAid Contract Litig.,
    257 F.R.D. 46 (D.N.J. 2009).........................................................................17, 18

Meserole v. Sony Corp. of Am., Inc.,
  2009 WL 1403933 (S.D.N.Y. May 19, 2009) ..............................................22, 23

Miami Valley Mobile Health Services,
  852 F. Supp. 2d 925, 938-39 (S.D. Ohio 2012)..................................................40

Miller v. Chrysler Grp. LLC,
   2014 WL 12617598 (D.N.J. June 30, 2014) .......................................................33

Miller v. Samsung Elecs. Am., Inc.,
   2015 WL 3695608 (D.N.J. June 29, 2015) .........................................................16
Mladenov v. Wegmans Food Mkts., Inc.,
  124 F. Supp. 3d 360 (D.N.J. 2015) .....................................................................26
Monticello v. Winnebago Indus., Inc.,
  369 F. Supp. 2d 1350, 1360 (N.D. Ga. 2005) .....................................................23

Montich v. Miele USA, Inc.,
  849 F. Supp. 2d 439 (D.N.J.2012) ......................................................................17
Moorman Manufacturing Co. v. National Tank Co.,
  435 N.E.2d 443 (Ill. 1982) ..................................................................................35
Morcom v. LG Elecs. USA, Inc.,
  2017 WL 8784836 (D.N.J. Nov. 30, 2017) ........................................................12

Mullen v. Allstate Ins. Co.,
  232 P.3d 168 (Colo. App. 2009) .........................................................................32

Murillo v. Kohl’s Corp.,
  197 F. Supp. 3d 1119 (E.D. Wis. 2016) .............................................................26

N.J. Transit Corp. v. Harsco,
   497 F.3d 323 (3d Cir. 2007) ...............................................................................22




                                                       xi
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 13 of 59 PageID: 457




Neale v. Volvo Cars of N. Am., LLC,
  2013 WL 1223354 (D.N.J. Mar. 26, 2013) ........................................................16

Neptuno Treuhand-Und Verwaltungsgesellschaft Mbh v. Arbor,
  692 N.E.2d 812 (Ill. App. Ct. 1998) ...................................................................35

New York Disaster Interfaith Servs. Inc. v. Council of Peoples Org.,
  Inc.,
  58 Misc. 3d 1212(A) (N.Y. Sup. Ct. 2018) ........................................................35

Noble v. Samsung Elecs. Am., Inc.,
  2018 WL 801590 (D.N.J. Feb. 8, 2018) .............................................................16
Nordberg v. Trilegiant Corp.,
  445 F.Supp.2d 1082 (N.D. Cal. 2006) ................................................................38

Notrica v. State Comp. Ins. Fund,
  83 Cal. Rptr. 2d 89 (Cal. Ct. App. 1999) ............................................................15
Novell v. Migliaccio,
  749 N.W.2d 544 (Wis. 2008)..............................................................................42
NuCal Foods, Inc. v. Quality Egg LLC,
  918 F. Supp. 2d 1023 (E.D. Cal. 2013) ..............................................................35

Nycal Corp. v. KPMG Peat Marwick LLP,
  688 N.E.2d 1368 (Mass. 1998) ...........................................................................35

Ocana v. Ford Motor Co.,
  992 So. 2d 319 (Fla. Dist. Ct. App. 2008) ..........................................................19

Ocasio v. C.R. Bard, Inc.,
  2015 WL 3496062 (M.D. Fla. June 3, 2015) .....................................................30

Oestreicher v. Alienware Corp.,
  544 F. Supp. 2d 964 (N.D. Cal. 2008) ................................................................28

Oliver v. Funai Corp,
   2015 WL 3938633 (D.N.J. June 25, 2015) .........................................................16

Ollerman v. O’Rourke Co.,
   288 N.W.2d 95 (Wis. 1980)................................................................................33



                                                     xii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 14 of 59 PageID: 458




Omni USA, Inc. v. Parker-Hannifin Corp.,
  964 F. Supp. 2d 805 (S.D. Tex. 2013) ................................................................19

Onita Pac. Corp. v. Trustees of Bronson,
  843 P.2d 890 (Or. 1992) .....................................................................................30

Oscar v. BMW of N. Am., LLC,
  274 F.R.D. 498 (S.D.N.Y. 2011) ........................................................................14

Pagan v. Abbott Laboratories, Inc.,
  287 F.R.D. 139 (E.D.N.Y. 2012) ........................................................................10

Parrish v. Arvest Bank,
  2016 WL 3906814 (W.D. Okla. July 14, 2016) .................................................27

Payne v. FujiFilm, U.S.A., Inc.,
  2010 WL 2342388 (D.N.J. May 28, 2010) .........................................................13
Pelican Ventures, LLC v. Azimut S.p.A.,
   2004 WL 3142550 (S.D. Fla. July 28, 2004) .....................................................30
In re Phenylpropanolamine (PPA) Prod. Liab. Litig.,
   214 F.R.D. 614 (W.D. Wash. 2003) ...................................................................11

Phillips Petroleum Co. v. Shutts,
   472 U.S. 797 (1985) ............................................................................................12
Phillips v. County. of Allegheny,
   515 F.3d 224 (3d Cir. 2008) ................................................................................. 8
Pirelli Armstrong Tire Corp. Retiree Medical Benefits Trust v.
   Walgreen Co.,
   631 F.3d. 441 (7th Cir. 2011) .............................................................................26

Prent Corp. v. Martek Holdings, Inc.,
   618 N.W.2d 201 (Wis. Ct. App. 2000) ...............................................................36
Rait v. Sears, Roebuck & Co.,
   2009 WL 2488155 (D.N.J. Aug. 11, 2009) ........................................................28
Rolls Royce Motor Cars, Inc. v. Houston Tractor Equip., Inc.,
   1992 WL 5546 (Tex. App. Jan. 16, 1992) ..........................................................23



                                                        xiii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 15 of 59 PageID: 459




Salovaara v. Jackson Nat. Life Ins. Co.,
   66 F. Supp. 2d 593 (D.N.J. 1999), aff’d, 246 F.3d 289 (3d Cir.
   2001) ...................................................................................................................31

Saltiel v. GSI Consultants, Inc.,
   170 N.J. 297 (2002) ......................................................................................31, 34
Schimmer v. Jaguar Cars,
   384 F.3d 402 (7th Cir. 2004) ..............................................................................25

In re Sears, Roebuck & Co. Tools Mktg. and Sales Practices Litig.,
    2006 WL 3754823 (N.D. Ill. Dec. 18, 2006)......................................................18
Shaulis v. Nordstrom, Inc.,
   865 F.3d 1 (1st Cir. 2017) ...................................................................................26

Sheris v. Nissan North America, Inc.,
   2008 WL 2354908 (D.N.J. June 3, 2008) ...........................................................23
Shurtleff v. Jay Tuft & Co.,
   622 P.2d 1168 (Utah 1980) .................................................................................24
Siegel v. Shell Oil Co.,
   612 F.3d 932 (7th Cir. 2010) ..............................................................................38

Skeen v. BMW of N. Am., LLC,
   2014 WL 283628 (D.N.J. Jan. 24, 2014) ............................................................16

Smith v. Cousins,
  358 So. 2d 1158 (Fla. Dist. Ct. App. 1978) ........................................................30

South Broward Hosp. Dist. v. MedQuist, Inc.,
   516 F. Supp. 2d 370 (D.N.J. 2007) .....................................................................31

Sterling Chemicals, Inc. v. Texaco Inc.,
   259 S.W.3d 793 (Tex. App. Ct. 2007) ................................................................35

Stevenson v. Mazda Motor of Am., Inc.,
   2015 WL 3487756 (D.N.J. June 2, 2015) ...........................................................33

Stroud v. Arthur Andersen & Co.,
   37 P.3d 783 (Okla. 2001) ....................................................................................35



                                                            xiv
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 16 of 59 PageID: 460




Szabo v. Bridgeport Machines, Inc.,
   249 F.3d 672 (7th Cir. 2001) ..............................................................................17

Tague v. Autobarn Motors, Ltd.,
  914 N.E.2d 710 (Ill. App. Ct. 2009) ...................................................................22

In re Takata Airbag Prod. Liab. Litig.,
    193 F. Supp. 3d 1324 (S.D. Fla. 2016) ...............................................................35

Tapia v. Davol, Inc.,
  116 F. Supp. 3d 1149 (S.D. Cal. 2015)...............................................................24

Taterka v. Ford Motor Co.,
   271 N.W.2d 653 (Wis. 1978)..............................................................................19

Theidemann v. Mercedes-Benz USA, LLC,
   183 N.J. 234 (2005) ......................................................................................22, 41
Thunander v. Uponor, Inc.,
  2012 WL 3430749 (D. Minn. Aug. 14, 2012) ....................................................40
Tietsworth v. Harley Davidson, Inc.,
   677N.W.2d 233, 245 (Wis. 2004).......................................................................42

Tillman v. Camelot Music, Inc.,
    408 F.3d 1300 (10th Cir. 2005) ..........................................................................37
Town of Alma v. AZCO Const., Inc.,
  10 P.3d 1256 (Colo. 2000) ..................................................................................35
U.S. Bank N.A. v. Sofield,
   2017 WL 2569740 (W.D.N.C. June 13, 2017) ...................................................37

United States v. Jackson,
  208 F.3d 633 (7th Cir. 2000) ..............................................................................28

Regents of Univ. of Colorado ex rel. Univ. of Colorado at Boulder v.
  Harbert Const. Co.,
  51 P.3d 1037 (Colo. App. 2001) .........................................................................19
Vesta Fire Ins. Corp. v. Milam & Co. Const.,
   901 So. 2d 84 (Ala. 2004) ..................................................................................35



                                                       xv
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 17 of 59 PageID: 461




W. Ridge Grp., LLC v. First Trust Co. of Onaga,
   414 Fed. Appx. 112 (10th Cir. 2011)..................................................................36

Wagner Tractor, Inc. v. Shields,
  381 F2d 441 (9th Cir 1967) ................................................................................41

Wait v. Roundtree Mobile, LLC,
  2015 WL 6964668 (S.D. Ala. Nov. 10, 2015)....................................................24

Waller v. Hewlett-Packard Co.,
  295 F.R.D. 472 (S.D. Cal. 2013) ........................................................................10

Walsh Chiropractic, Ltd. v. Stratacare, Inc.,
  752 F. Supp. 2d 896 (N.D. Ill. 2010) ..................................................................38

Walsh v. Ford Motor Co.,
  807 F. 2d 1000 (D.C. Cir. 1986) .........................................................................13
Weske v. Samsung Electronics America, Inc.,
  934 F. Supp. 2d 698 (D.N.J. 2013) .....................................................................27
Wilborn v. CarMax Auto Superstores California, LLC,
   2017 WL 6940653 (C.D. Cal. Dec. 11, 2017) ....................................................23

Wilson v. Century 21 Great W. Realty,
   18 Cal. Rptr. 2d 779 (Cal. Ct. App. 1993) ..........................................................30
Wilson v. Hewlett-Packard Co.,
   668 F.2d. 1136 (9th Cir. 2012) ...........................................................................28
Yarger v. ING Bank, FSB,
   285 F.R.D. 308 (D. Del. 2012) .....................................................................17, 18

Zaffiri v. Pontiac RV, Inc.,
   2012 WL 7050429 (Ill. App. Ct. Sept. 11, 2012) ...............................................23

Zaycer v. Sturm Foods, Inc.,
   896 F. Supp. 2d 399 (D. Md. 2012) ....................................................................13

Rules
Fed. R. Civ. P. 9(b) ............................................................................................26, 27
Fed. R. Civ. P. 12(b)(6)..............................................................................................8

                                                         xvi
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 18 of 59 PageID: 462




Statutes
15 U.S.C. § 2303(a) .................................................................................................24

15 U.S.C. § 2304 ......................................................................................................24

15 U.S.C. § 2310(d) .................................................................................................25

28 U.S.C. § 1332(d) .................................................................................................25

Ala. Code § 7-2-316 .................................................................................................21

Ala. Code § 8-19-10 ...........................................................................................15, 43
Ala. Code § 8-19-14 .................................................................................................16
Alaska Stat. § 45.50.53 ............................................................................................16
Ark. Code Ann. § 4-88-115 .....................................................................................16

Cal. Bus. & Prof. Code §§ 17200, et seq. .................................................................. 8
Cal. Bus. & Prof. Code §§ 17500, et seq. .................................................................. 8
Cal. Com. Code § 2316 ............................................................................................21

Conn. Gen. Stat. § 42-110g(f)..................................................................................16
Fla. Stat. Ann. § 672.316 .........................................................................................21
Haw. Rev. Stat. § 480-24(a).....................................................................................16

Ill. Comp. Stat. Ann. 5/2-316...................................................................................21

Ky. Rev. Stat. § 367.220(5) .....................................................................................16

Mass. Gen. Laws Ann. Ch. 106, §§ 2-314 to 2-318 ................................................23

Mass. Gen. Laws Ann. Ch. 106, § 2-316 .................................................................21
Mass. Gen. Laws Ch. 93A § 9(3).............................................................................15

Mich. Comp. Laws § 445.911(7) .............................................................................16
N.C. Gen. Stat. Ann. § 25-2-316..............................................................................21


                                                         xvii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 19 of 59 PageID: 463




N.J.S.A. 12a:2-316 ...................................................................................................21
N.Y. U.C.C. Law § 2-316 ........................................................................................21

New York Gen. Bus. Law §349 ................................................................................. 8

Okla. Stat. Ann. Tit. 12a, § 2-316 ............................................................................21

Or. Rev. Stat. Ann. § 72.3160 ..................................................................................21

Tex. Bus. & Comm. Code § 2.316...........................................................................21

Tex. Bus. & Comm. Code § 17.505(a) ....................................................................15
UNIFORM COMMERCIAL CODE 7 (2d ed. 1980) ........................................................13
Utah Code Ann. § 13-11-19 .....................................................................................16
Utah Code Ann. § 70a-2-316 ...................................................................................21

Wash. Rev. Code § 19.86.120..................................................................................16

Wis. Stat. Ann. § 402.316 ........................................................................................21
Wis. Stat. §100.18, et seq. ..............................................................................8, 16, 42

Other Authorities
McLaughlin on Class Actions, § 5:60 .....................................................................17




                                                        xviii
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 20 of 59 PageID: 464




                          PRELIMINARY STATEMENT
      Is a class action necessary – or even appropriate – when a defendant has

offered most if not all of the relief the plaintiffs seek or could obtain? Plaintiffs are

owners of various model and model year BMW vehicles equipped with the “N20”

and “N26” engine. Plaintiffs claim the timing chains in their vehicles’ engines are

defective because they broke after their vehicles’ 4-year/50,000-mile limited

warranty period expired – in most instances 20,000 miles, 30,000 miles, even

50,000 miles later. These parts are defective, say Plaintiffs, because they “should

last a minimum of 150,000 miles.” That duration is allegedly demonstrated by the

vehicles’ Service and Warranty Manuals (it’s not in there), “other materials

accompanying the vehicles” (what those are, they don’t say), “other engines

manufactured by defendants” (which they don’t identify), and the “performance of

comparable competitor vehicles” (whichever they might).

      Plaintiffs claim Defendants knew about this alleged defect since 2013 but

failed to disclose it. As “evidence” of Defendants’ knowledge, Plaintiffs point to a

February 2017 service bulletin advising dealers how to address and repair issues

with the timing chains in these vehicles. As further evidence of Defendants’

knowledge and purported “admission” of this defect, Plaintiffs point to the fact that

in December 2017 several of them received notice that the warranty on these

vehicles’ timing chains was being extended to 7 years/70,000 miles.
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 21 of 59 PageID: 465




          What Plaintiffs don’t point out is that, along with the 2017 service bulletin

and warranty extension, Defendants instituted a refund program for customers who

incurred expenses associated with timing-chain issues. Notice of that warranty

extension and refund program was mailed to about 433,000 owners of BMW

vehicles with N20 and N26 engines, like Plaintiffs here. Still, Plaintiffs say the

warranty extension, reimbursement program, and service bulletin aren’t enough.

          Instead, Plaintiffs seek to pursue a nationwide or 14-state class action for

breach of express and implied warranty, violation of the Magnusson-Moss

Warranty Act, multiple states’ consumer-protection statutes, common-law

negligent misrepresentation, unjust enrichment, and declaratory and injunctive

relief.     But Plaintiffs shouldn’t be permitted to pursue a class action where

Defendants offered the relief sought or which could reasonably be obtained. And

even if Plaintiffs are allowed to pursue their proposed class action, they can’t bring

their claims on a nationwide basis under New Jersey law, and their substantive

claims are flawed for myriad reasons.

                              STATEMENT OF FACTS 1
          Bayerische Motoren Werke Aktiengesellschaft (BMW AG) is a German

entity that designs and manufactures BMW brand vehicles.2                      (Amended


1
    Solely for the purposes of this motion to dismiss, BMW NA accepts as true the well-pled
factual allegations in the Plaintiffs’ Amended Consolidated Class Action Complaint (CAC).
2
    BMW AG has not yet been served.


                                            2
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 22 of 59 PageID: 466




Consolidated Class Action Complaint (CAC), Docket Entry 23, ¶ 14.) BMW of

North America, LLC (BMW NA) is the U.S. importer, distributor, marketer, and

warrantor of BMW vehicles. (Id. ¶ 15.) BMW vehicles sold in the U.S. come with

a 4-year/50,000-mile (whichever comes first) limited warranty. (Id. ¶ 9.)

          The twenty Plaintiffs hail from fourteen states and purchased, either new or

used, a variety of BMW vehicles equipped with the N20 or N26 engine. (CAC

¶13.) All but two of the Plaintiffs claim the timing chains in their vehicles’

engines failed, necessitating either repair or, in some cases, replacement of the

engine, causing out-of-pocket expense:

                               Model/Model   New or        Mileage at       Monetary
    Name            State          Year       Used          Failure      Claim/Damage
B. Patel         New Jersey    2013 X3     Used           71,000        $8,000/replaced
                                                                        engine
C. Williams      New Jersey    2013 X3       Used         83,000        $7,000/replaced
                                                                        engine
A. Patel         New Jersey    2012 528      Used         72,755        $1,768/repair
                                                                        engine
A. Gelis         Illinois      2013 328      New          65,500        $500 for
                                                                        transportation
                                                                        (BMW NA paid
                                                                        for engine)
R. McDonald Florida            2013 X3       New          93,000        $11,000/replaced
                                                                        engine
N. Guy           New York      2013 X3       New          85,000        Sold “at loss”
                                                                        due to damaged
                                                                        engine
E. Zinn          New York      2014 328      Used         No failure    Declaratory
                                                                        relief
J. Olson         Utah          2013 X3       New          79,000        $8,900/replaced
                                                                        engine
G. & S.          New York      2013 (not     Used         98,896        $5,500/repaired
Heyman                         identified)                              engine
K.               Colorado      2013 (not     Used         58,000        $10,000/repaired
Henderson                      identified)                              engine


                                             3
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 23 of 59 PageID: 467




                              Model/Model   New or        Mileage at       Monetary
   Name             State         Year       Used          Failure      Claim/Damage
D. Ward         Texas         2013 X3     Used           73,617        $7,500/replaced
                                                                       engine
D. Stoval       Alabama       2012 528      Used         91,000        $5,400/repaired
                                                                       engine
A. Martinez     Oklahoma      2012 528      Used         90,000        $3,137/repaired
                                                                       engine
A. Gorey        Massachusetts 2013 X3       Used         79,000        $10,000/replaced
                                                                       engine
K. Gagnon       Massachusetts 2013 328      Used (demo) 80,000         $8,229/replaced
                                                                       engine
E. Arat         California    2012 328      Used         87,000        $500/ repaired
                                                                       engine
A. Malske       Wisconsin     2013 X3       New          79,000        $10,000/replaced
                                                                       engine
C. Lash         Oregon        2013 X3       New          45,000        $3,045/replaced
                                                                       engine
D.              North         2013 428      Used         No failure    Declaratory
Richardson      Carolina                                               relief
M. Cerny        Texas         2012 328      Used         100,000       $2,964/replaced
                                                                       components
See CAC, ¶13(a)-(t).
          The timing-chain assemblies in the N20 and N26 engines ensure that the

valves in the engine’s combustion chamber open and close properly “in the precise,

synchronized manner necessary for the engine to properly function.” (CAC ¶ 2.)

If the primary timing chain malfunctions, that synchronization fails, resulting in

power loss or causing the pistons or valves to collide. (Ibid.) Plaintiffs allege that,

in some instances, the engine will operate poorly, stall, or exhibit limited

acceleration, and in other cases can cause “sudden and catastrophic engine self-

destruction.” (Id. ¶ 3.) Further, Plaintiffs claim that the primary timing chain’s

guide assembly is made of substandard materials which break, becoming lodged in

the crankshaft drive sprockets or stuck in the oil pump, blocking the lubricating oil


                                          4
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 24 of 59 PageID: 468




and “resulting in catastrophic engine damage and/or complete failure.” (Id. ¶ 4.)

This alleged defect poses “a serious safety issue while the vehicle is being operated

since there is loss of engine power without warning, loss of power-assisted steering

and reduced braking,” drive-wheel locking in manual-transmission vehicles, loss of

directional stability and steering, or failure of the engine to start “leaving the driver

and passenger stranded mid-journey,” yet no Plaintiff claims to have experienced

any of these “safety” issues. (Ibid.) Plaintiffs also claim the secondary timing

chain is defective and, when it fails, the oil pump stops working and no longer

provides “lubricating oil to contact surfaces such as crankshaft bearings resulting

in catastrophic engine damage and/or complete failure.” (Id. ¶ 5.)

      Plaintiffs claim the timing-chain assemblies “should last a minimum of

150,000 miles in a modern automobile such as the class vehicles.” (CAC ¶ 28.)

Plaintiffs contend Defendants knew of the alleged defects as early as 2013 because

Defendants “began to redesign chain assembly components to alleviate the known

issues without revealing to class members the defect or its knowledge thereof.”

(Id. ¶ 30.) Plaintiffs assert that Defendants’ knowledge of this defect in 2013 is

demonstrated by Defendants’ issuance of Service Information Bulletin “SI B11 03

17” in February 2017, addressing “the symptoms associated with the defective

chain assemblies.” (Ibid.) Plaintiffs claim that based on the Service Information

Bulletin, “comments on various websites and the lead time necessary to investigate


                                           5
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 25 of 59 PageID: 469




chain assembly failures, redesign and/or retool and manufacture the updated

components” prove Defendants were aware of the alleged defect “in late 2012 or

early 2013.”      (Ibid.)    Plaintiffs claim Defendants “purposefully ignored” the

purported defect “for years in order to avoid substantial costs associated with

remedying these defects under warranty.” (Id. ¶ 32.)

       In the fall of 2017, BMW NA extended the warranty on the timing-chain

assemblies from 4 years/50,000 miles to 7 years/70,000 miles. (CAC ¶ 9.) BMW

NA notified 433,000 owners and lessees of BMW vehicles with N20 or N26

engines about this warranty extension and the availability of a reimbursement

program. (See Declaration by Christopher J. Dalton (Dalton Decl.), Exhibit A.) 3

       Plaintiffs allege 21 causes of action on a nationwide or state subclass basis:

Count Claim                                              Class
I     Breach of Express Warranty                         Nationwide or New Jersey
                                                         Subclass
II        Breach of Implied Warranty of                  Nationwide or State Subclasses
          Merchantability
III       Violation of Magnuson-Moss                     Nationwide or State Subclasses
          Warranty Act
IV        Violation of New Jersey Consumer               Nationwide or New Jersey
          Fraud Act
V         Violation of Illinois Consumer Fraud           Illinois Subclass
          Act
VI        Violation of Mass. Gen. L. 93A                 Massachusetts Subclass

3
    The Court’s consideration of the Exhibits attached to the Dalton Declaration is appropriate,
and does not convert this motion into one for summary judgment, because the timing chain
warranty extension, service information bulletin, and limited warranty on Plaintiffs’ vehicles are
referenced in, and integral to, Plaintiffs’ CAC. See In re Burlington Coat Factory Sec. Litig.,
114 F.3d 1410, 1426 (3d Cir. 1997).


                                                6
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 26 of 59 PageID: 470




Count Claim                                         Class
VII   Violation of Texas Deceptive Trade            Texas Subclass
      Practices Act
VIII  Violation of Cal. Bus. & Prof. Code           California Subclass
      §§ 17200, et seq.
IX    Violation of Cal. Bus. & Prof. Code           California Subclass
      §§ 17500, et seq.
X     Violation of Cal. Consumer Legal              California Subclass
      Remedies Act
XI    Violation of Cal. Song-Beverly                California Subclass
      Warranty Act
XII   Violation of Wisconsin Deceptive              Wisconsin Subclass
      Trade Practices Act
XIII  Violation of Oregon Unlawful Trade            Oregon Subclass
      Practices Act
XIV   Violation of New York Gen. Bus.               New York Subclass
      Law §349
XV    Violation of Fl. Deceptive & Unfair           Florida Subclass
      Trade Practices Act
XVI   Violation of Colorado Consumer                Colorado Subclass
      Protection Act
XVII Violation of Alabama Deceptive                 Alabama Subclass
      Trade Practices Act
XVIII Violation of Utah Consumer Sales              Utah Subclass
      Practices Act
XIX   Violation of Oklahoma Consumer                Oklahoma Subclass
      Protection Act
XX    Negligent Misrepresentation                   Nationwide or State Subclasses
XXI   Unjust Enrichment                             Nationwide or State Subclasses
XXII Injunctive and Declaratory Relief              Richardson, Zinn, and
                                                    Declaratory Relief Subclass

              STANDARD GOVERNING MOTION TO DISMISS
      To survive a motion to dismiss under Rule 12(b)(6), a complaint “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell


                                           7
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 27 of 59 PageID: 471




Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In evaluating the sufficiency of

a complaint, the court accepts as true all well-pleaded factual allegations and draws

all reasonable inferences in favor of the non-moving party. Phillips v. County. of

Allegheny, 515 F.3d 224, 234 (3d Cir. 2008). “Factual allegations must be enough

to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

“A pleading that offers labels and conclusions will not do. Nor does a complaint

suffice if it tenders naked assertion[s] devoid of further factual enhancement.”

Iqbal, 556 U.S. at 678 (citations omitted). Threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Ibid.

Accordingly, “a complaint must do more than allege the plaintiff’s entitlement to

relief. A complaint has to ‘show’ such entitlement with its facts.” Fowler v.

UPMC Shadyside, 578 F.3d 203, 211 (3d Cir. 2009).

                              LEGAL ARGUMENT
                                 Point One:
     A Class Action is Unnecessary Because BMW NA Is Offering Relief.
      Plaintiffs seek to pursue a nationwide or multi-state class action asserting

claims for breach of warranty, consumer fraud, negligent omission, and declaratory

and injunctive relief. Plaintiffs seek compensation for out-of-pocket expenses

associated with repairing the timing chains in their vehicles and an extension of the

warranty for those parts. But that’s already being provided.

      As Plaintiffs acknowledge (CAC ¶ 9), BMW NA has notified 433,000


                                         8
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 28 of 59 PageID: 472




owners and lessees of vehicles with N20 and N26 engines that the warranty on

those vehicles’ timing chains and associated components has been extended from 4

years/50,000 miles to 7 years/70,000 miles, and that owners who’ve incurred

expenses repairing the timing chains in their vehicles can apply for a refund.

       Plaintiffs say the warranty extension is insufficient because it does “not

encompass all components of the primary and secondary chain assemblies alleged

to be defective in this complaint particularly including engine failures caused by

abrasion of the primary chain guides.” (Ibid.) The Complaint focuses on the

primary timing chain, primary chain tensioner, primary chain guiderails (guides),

secondary timing chain, and secondary chain sprocket. (CAC ¶¶ 4-5, 33-34.)

       Yet those parts – and more – are covered under the warranty extension. (See

Dalton Decl., Exhibits B-C.)           Moreover, the standard New Vehicle Limited

Warranty and the warranty extension cover “consequential repairs” – those repairs

“required as a ‘direct result’ of the issue” presented here. (Ibid.) And neither the

warranty extension nor the customer refund program prohibits replacement or

reimbursement for engine damage due to failure of the primary or secondary

timing chains. So, why do we need a class action?

       Indeed, courts around the country have found class-action lawsuits

inappropriate where the defendant is offering the relief being sought. 4 This Court


4
    E.g., Conrad v. Boiron, Inc., 869 F.3d 536, 541 (7th Cir. 2017) (affirming dismissal of class

                                               9
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 29 of 59 PageID: 473




should do the same and dismiss this action because a remedy is already available

without the need to engage in lengthy class-action litigation.

                                 Point Two:
 Plaintiffs Cannot Pursue a Nationwide Class Action Under New Jersey Law.
       Plaintiffs are residents of, and purchased their vehicles in, Alabama,

California, Colorado, Florida, Illinois, Massachusetts, New Jersey, New York,

North Carolina, Oklahoma, Oregon, Texas, Utah, and Wisconsin. Except for the


action where court found representative plaintiff inadequate for having refused to take advantage
of defendant’s refund program); In re Aqua Dots Prod. Liab. Litig., 654 F.3d 748, (7th Cir.
2011) (affirming dismissal of class action where remedy was available; “Plaintiffs want relief
that duplicates a remedy that most buyers already have received, and that remains available to all
members of the putative class. A representative who proposes that high transaction costs (notice
and attorneys’ fees) be incurred at the class members’ expense to obtain a refund that already is
on offer is not adequately protecting the class members’ interests.”) (citation omitted); Waller v.
Hewlett-Packard Co., 295 F.R.D. 472 (S.D. Cal. 2013) (denying class certification where
defendant had released a free software update that remedied the issue about which plaintiff
complained); Pagan v. Abbott Laboratories, Inc., 287 F.R.D. 139, 151 (E.D.N.Y. 2012) (finding
class action not superior where recall/refund program existed, stating, “‘[t]he wisdom of the
Plaintiffs’ decision to forgo the Recall program is questionable, particularly in light of the
number of cases that have denied class certification in consumer class actions because a
voluntary recall and/or refund program provided a superior method of compensating the putative
class members.’ This is because ‘[w]here available refunds afford class members a comparable
or even better remedy than they could hope to achieve in court, a class action would merely
divert a substantial percentage of the refunds’ aggregate value to the class lawyers.’”) (citations
omitted); Daigle v. Ford Motor Co., 2012 WL 3113854, at *5 (D. Minn. July 31, 2012) (denying
class certification where Ford had implemented recall program remedying issue and providing
refund) (citations omitted); In re Conagra Peanut Butter Prod. Liab. Litig., 251 F.R.D. 689
(N.D. Ga. 2008) (denying class certification, finding class action was not superior where
defendant had offered refunds for recalled peanut butter); In re Phenylpropanolamine (PPA)
Prod. Liab. Litig., 214 F.R.D. 614, 622 (W.D. Wash. 2003) (finding class action not superior
where “defendants maintain refund and product replacement programs for individuals still in
possession of PPA-containing products.”) (citing Chin v. Chrysler Corp., 182 F.R.D. 448, 462-
65 (D.N.J. 1998) (finding lack of superiority where reimbursement available through recall
program and through administrative remedy); Berley v. Dreyfus Co., 43 F.R.D. 397, 398-99
(S.D.N.Y. 1967) (rejecting plaintiffs’ proposal to “needlessly replace a simple, amicable
settlement procedure with complicated, protracted litigation” where the defendant offered a
purchase price refund to its customers)) (other citation omitted).


                                               10
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 30 of 59 PageID: 474




New Jersey Plaintiffs, no other Plaintiff alleges any connection to New Jersey –

other than that BMW NA is located here. That, however, is insufficient to invoke

New Jersey law and apply it nationwide, as numerous courts have found.

       “While it might be desirable for the sake of efficiency to settle upon one

state, such as New Jersey, and apply its law in lieu of the other 49 jurisdictions,

due process requires individual consideration of the choice of law issues raised by

each class member’s case before certification.”            Chin v. Chrysler Corp., 182

F.R.D. 448, 457 (D.N.J. 1998). Under the Due Process Clause, a court “may not

take a transaction with little or no relationship to the forum and apply the law of

the forum.” Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 821 (1985). Rather,

“in nationwide class actions, choice of law constraints are constitutionally

mandated.” In re Ford Motor Co. Ignition Switch Prods. Liab. Litig., 174 F.R.D.

332, 347 (D.N.J. 1997) (citing Phillips Petroleum, 472 U.S.at 821-823).                    A

complaint that ignores this choice-of-law requirement should be addressed at the

pleading stage.5

       New Jersey does not have the constitutionally-required interest in applying

its laws to the putative class claims. Instead, choice-of-law principles dictate that

5
    See Cooper v. Samsung Electronics America, Inc., 374 Fed. App’x 250, 255 n.5 (3d Cir.
2010) (rejecting plaintiff’s contention that District Court erred by conducting choice-of-law
analysis at motion-to-dismiss stage); Morcom v. LG Elecs. USA, Inc., 2017 WL 8784836 (D.N.J.
Nov. 30, 2017) (conducting choice-of-law analysis at motion-to-dismiss stage); Cox v. Chrysler
Grp., LLC, 2015 WL 5771400 (D.N.J. Sept. 30, 2015) (same); Gray v. BMW of N. Am., LLC, 22
F. Supp. 3d 373 (D.N.J. 2014) (same).


                                             11
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 31 of 59 PageID: 475




this Court will have to apply the laws of every U.S. jurisdiction. 6

A.     Plaintiffs Cannot Pursue Nationwide Breach-of-Warranty Claims
       Under New Jersey Law.
       Legal variations exist across the states’ UCC laws, rendering nationwide or

class treatment of Plaintiff’s warranty claims inapt. Simply put, the Uniform

Commercial Code is not uniform. 7              Variations and conflicts exist across the

warranty laws of the several states:

           State laws regarding breach of express and implied warranty
           also differ greatly with regard to “(1) whether plaintiffs must
           demonstrate reliance, (2) whether plaintiffs must provide notice
           of breach, (3) whether there must be privity of contract,
           (4) whether plaintiffs may recover for unmanifested…defects,
           (5) whether merchantability may be presumed and (6) whether

6
    Moreover, as a virtually unbroken line of cases has held under analogous facts, Plaintiffs here
do not have standing to invoke the laws of a state in which they suffered no injury. See, e.g., In
re Carrier IQ, Inc., Consumer Privacy Litig., 2015 WL 274054, at *13-14 (N.D. Cal. Jan. 21,
2015) (dismissing claims since “the named Plaintiffs do not have standing to assert claims from
states in which they do not reside or did not purchase their mobile device”); Ferrari v. Best Buy
Co., 2015 WL 2242128, at *9 (D. Minn. May 12, 2015) (“Named plaintiffs lack standing to
assert claims under the laws of the states in which they do not reside or in which they suffered no
injury.”) (citation omitted); McGuire v. BMW of N. Am., LLC, 2014 WL 2566132, at *6 (D.N.J.
June 6, 2014) (“[T]his Court agrees that the Plaintiff here lacks standing to assert claims under
the laws of the states in which he does not reside, or in which he suffered no injury”); Granfield
v. NVIDIA Corp., 2012 WL 2847575, at *4 (N.D. Cal. July 11, 2012) (dismissing all non-
Massachusetts state law warranty claims with prejudice for lack of standing where named
plaintiff failed to allege she made any relevant purchases outside the state of Massachusetts);
Zaycer v. Sturm Foods, Inc., 896 F. Supp. 2d 399, 409 (D. Md. 2012) (plaintiff lacked standing
to assert claims under the laws of states other than Maryland where plaintiff was neither harmed
by product nor purchased product in any state other than Maryland).
7
    Walsh v. Ford Motor Co., 807 F. 2d 1000, 1016 (D.C. Cir. 1986) (noting the “unstartling
statement made in a leading treatise: ‘The Uniform Commercial Code is not uniform’”) (citing J.
WHITE & R. SUMMERS, UNIFORM COMMERCIAL CODE 7 (2d ed. 1980)); Arons v. Rite-Aid Corp.,
2005 WL 975462, at *22 (N.J. Super. Law Div. March 23, 2005) (“[N]otwithstanding the rubric
Uniform Commercial Code, the law that has emerged thereunder is not pristinely uniform.
Indeed, it is sometimes tangled and contradictory between jurisdictions, and in some instances
clear expressions of the law notwithstanding the statutory language have not emerged.”).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 32 of 59 PageID: 476




           warranty protections extend to used [goods].”
Payne v. FujiFilm, U.S.A., Inc., 2010 WL 2342388, at *9 (D.N.J. May 28, 2010)

(denying certification of nationwide class for breach-of-warranty claims) (quoting

Cole v. GMC, 484 F.3d 717, 726 (5th Cir. 2007)) (other citation omitted). 8

B.     Plaintiffs Cannot Pursue Nationwide Consumer-Fraud Claims Under
       New Jersey Law.
       The Third Circuit has made clear that the New Jersey Consumer Fraud Act

(NJCFA) cannot be applied to claims of out-of-state consumers where, as here, its

application is sought simply because a defendant is located in New Jersey. See

Maniscalco v. Brother Int’l (USA) Corp., 709 F.3d 202 (3d Cir. 2013). The court

“adopt[ed] the overwhelming majority of courts’ application of New Jersey choice-

of-law rules under similar circumstances.” Id. at 209 (citations omitted). The

court disagreed with cases applying New Jersey law to class actions involving out-

of-state consumers based simply upon the defendant’s location in New Jersey:

           While, to be sure, New Jersey has an interest in deterring
           misconduct by corporations headquartered within its borders, it
           is far from clear that this interest would be sufficient to
           outweigh other significant contacts with a plaintiff’s home
8
    See also Marcus v. BMW of N. Am., LLC, 2010 WL 4853308, at *7-9 (D.N.J. Nov. 19, 2010)
(collecting cases, noting that no court had certified nationwide class action under MMWA –
which relies upon state warranty law – because choice-of-law considerations required application
of 50 states’ warranty laws; variations in warranty laws precluded certification of nationwide
MMWA claim); Oscar v. BMW of N. Am., LLC, 274 F.R.D. 498, 508-511 (S.D.N.Y. 2011)
(same); In re Ford Motor Co. Ignition Switch Prod. Liab. Litig., 194 F.R.D. 484, 489 (D.N.J.
2000) (declining to certify a nationwide class for implied-warranty claims because of significant
differences with respect to each state’s definition of merchantability, whether remedy was tort or
contract remedy, and whether state allows waiver of implied warranty); Chin, 182 F.R.D. at 457-
463 (discussing myriad variations in state warranty laws precluding class certification).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 33 of 59 PageID: 477




          state. New Jersey’s deterrent interest might well be served by
          actions involving in-state plaintiffs or actions involving
          additional contacts within New Jersey without opening the
          floodgates to nation-wide consumer fraud class actions brought
          by out-of-state plaintiffs involving transactions with no
          connection to New Jersey other than the location of the
          defendant’s headquarters.

709 F.3d at 210; see also id. at 208 n.3.

       Conflicts abound between the NJCFA and the consumer-protection laws of

the other states. For example, Alabama prohibits class actions.9 California (UCL

only) does not provide for a jury trial.10           Illinois requires actual reliance or

deception.11 Alabama, Massachusetts, and Texas require pre-suit notice and an

opportunity to cure before instituting a consumer-fraud action.12 Utah provides for

minimum relief in a set amount. 13 Statutes of limitation vary widely – from one to

six years – across the states. 14

       Numerous conflicts exist between the NJCFA and the consumer-protection

statutes of the other states. Those conflicts mandate application of each putative


9
    Ala. Code § 8-19-10(f).
10
    Notrica v. State Comp. Ins. Fund, 83 Cal. Rptr. 2d 89 (Cal. Ct. App. 1999) (no jury trial
under UCL).
11
    Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801, 861 (Ill. 2005).
12
    Ala. Code § 8-19-10(e); Mass. Gen. Laws Ch. 93A § 9(3); Tex. Bus. & Comm. Code
§ 17.505(a).
13
    Utah Code Ann. § 13-11-19 ($2,000).
14
    Ala. Code § 8-19-14 (one year); Ky. Rev. Stat. § 367.220(5) (one year); Alaska Stat.
§ 45.50.53 (two years); Tex. Bus. & Comm. Code § 17.565 (two years); Conn. Gen. Stat. § 42-
110g(f) (three years); Wis. Stat. § 100.18(11)(b)(3) (three years); Haw. Rev. Stat. § 480-24(a)
(four years); Wash. Rev. Code § 19.86.120 (four years); Ark. Code Ann. § 4-88-115 (five years);
Mich. Comp. Laws § 445.911(7) (six years).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 34 of 59 PageID: 478




class member’s home jurisdiction. As in Maniscalco, Plaintiffs here cannot pursue

a nationwide class-action under the NJCFA where the only basis for applying New

Jersey law is BMW NA’s location in New Jersey. 15

C.     Plaintiffs Cannot Pursue Nationwide Negligent-Misrepresentation
       Claims Under New Jersey Law.
       State law variations exist as well for Plaintiff’s common-law negligent-

misrepresentation claims, once again requiring individualized choice-of-law

questions and precluding the application of New Jersey law nationwide. 16




15
    Courts in this District have consistently followed Maniscalco’s direction that the simple fact
that a defendant is located in New Jersey is insufficient to support extraterritorial – or nationwide
– application of the NJCFA. See, e.g., Noble v. Samsung Elecs. Am., Inc., 2018 WL 801590
(D.N.J. Feb. 8, 2018); Block v. Jaguar Land Rover N. Am., LLC, 2016 WL 3032682 (D.N.J.
May 26, 2016); Bedi v. BMW of N. Am., LLC, 2016 WL 324950 (D.N.J. Jan. 27, 2016); Miller v.
Samsung Elecs. Am., Inc., 2015 WL 3695608 (D.N.J. June 29, 2015); Oliver v. Funai Corp, 2015
WL 3938633 (D.N.J. June 25, 2015); Skeen v. BMW of N. Am., LLC, 2014 WL 283628 (D.N.J.
Jan. 24, 2014); Neale v. Volvo Cars of N. Am., LLC, 2013 WL 1223354 (D.N.J. Mar. 26, 2013);
Avram v. Samsung Elecs. Am., Inc., 2013 WL 3654080 (D.N.J. July 11, 2013).
16
    See, e.g., Donachy v. Intrawest U.S. Holdings, Inc., 2012 WL 869007, at *10 (D.N.J.
Mar. 14, 2012) (“Briefing the unjust enrichment and negligent misrepresentation claims of the
three states at issue on the motion to dismiss has already exposed the difficulty in finding
common ground between various states’ common law claims, given the oftentimes subtle
differences between the states.”); cf. Szabo v. Bridgeport Machines, Inc., 249 F.3d 672, 674 (7th
Cir. 2001) (questioning viability of nationwide negligent-misrepresentation class due to choice-
of-law concerns). Moreover, claims for negligent misrepresentation require proof of “justifiable
reliance” – an individualized inquiry anathema to the class-action device:
        Under New Jersey law, the elements of a negligent misrepresentation claim are:
        (1) defendant negligently made a false communications [sic] of material fact;
        (2) plaintiff justifiably relied upon the misrepresentation; and (3) the reliance
        resulted in an ascertainable loss or injury. Thus, assuming that New Jersey law
        does apply to this claim, the elements of a negligent misrepresentation claim are
        incongruent with granting class certification, as common issues would not
        predominate because each plaintiff would need to prove reliance.
Elias v. Ungar’s Food Prods., Inc., 252 F.R.D. 233, 251 (D.N.J. 2008) (citations omitted).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 35 of 59 PageID: 479




D.     Plaintiffs Cannot Pursue Nationwide Unjust-Enrichment Claims Under
       New Jersey Law.
       Courts and commentators have recognized that variations exist across the

states’ unjust-enrichment laws, rendering inappropriate nationwide class

certification under one state’s laws.17 Significant differences exist amongst the

states regarding what statutes of limitation apply to unjust-enrichment claims and

when those claims start to accrue, as well as “the availability of unjust enrichment

as an independent cause of action, the need to show an absence of an adequate

remedy at law, the requirement that a benefit be obtained at the direct expense of

the plaintiff, the level of misconduct a plaintiff must prove, and the availability of

defenses such as unclean hands and laches.” In re Actiq Sales and Marketing

Practices Litig., 307 F. R.D. 150, 164-66 (E.D. Pa. 2014) (citations omitted).

Simply stated, “unjust enrichment is a tricky type of claim that can have varying

interpretations even by courts within the same state, let alone amongst the fifty

states.” In re Sears, Roebuck & Co. Tools Mktg. and Sales Practices Litig., 2006

WL 3754823, at *1 n.3 (N.D. Ill. Dec. 18, 2006). 18


17
    See, e.g., Montich v. Miele USA, Inc., 849 F. Supp. 2d 439, 458-59 (D.N.J.2012) (finding
material variations in states’ laws on unjust enrichment; rejecting opposite conclusion reached in
In re Mercedes-Benz TeleAid Contract Litig., 257 F.R.D. 46, 58 (D.N.J. 2009)); Yarger v. ING
Bank, FSB, 285 F.R.D. 308, 323-325 (D. Del. 2012) (denying certification of sixteen-state unjust
enrichment class based on state-law variations); cf. McLaughlin on Class Actions, § 5:60 (“[t]he
majority view is that unjust enrichment claims usually are not amenable to class treatment
because the claim requires evaluation of the individual circumstances of each claimant”).
18
    Some courts in this District have reached the opposite conclusion. E.g., Arlandson v. Hartz
Mountain Corp., 792 F. Supp. 2d 691, 710 (D.N.J. 2012) (finding no significant variations)

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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 36 of 59 PageID: 480




       The laws of the putative class members’ home states will govern their claims

for consumer fraud, breach of warranty, negligent misrepresentation, and unjust

enrichment. Plaintiffs cannot invoke New Jersey law and apply it nationwide

simply because BMW NA is located here. Rather, their claims – and the claims of

their putative classmates – must be adjudicated under the law of their home states.

                                       Point Three:
                           Plaintiffs’ Warranty Claims Fail.
A.     Regardless of What State’s Law Applies, Plaintiffs Cannot Pursue
       Claims for Breach of an Expired Warranty.
       In New Jersey, “the general rule, stated in Duquesne, prohibiting breach of

warranty actions premised on defects that did not arise until after the warranty

expired applies to [Plaintiffs’] claims regardless of [their] assertion that BMW

knew that [their] vehicle was defective before the time-limit took effect.” Alban v.

BMW of N. Am., LLC, 2010 WL 3636253, at *7 (D.N.J. Sept. 8, 2010) (citing

Duquesne Light Co. v. Westinghouse Elec. Corp., 66 F.3d 604 (3d Cir. 1995)).




(citations omitted). Significantly, however, the Yarger court conducted a searching review of
cases discussing unjust-enrichment class actions, reviewing numerous decisions examining and
denying certification of nationwide or multi-state unjust-enrichment classes based on significant
material legal variations. 285 F.R.D. at 324 n.23 (citing Mazza v. Am. Honda Motor Co., 666
F.3d 581, 591 (9th Cir. 2012) (“The elements necessary to establish a claim for unjust
enrichment also vary materially from state to state”); In re Aqua Dots Prods. Liab. Litig., 270
F.R.D. 377, 386 (N.D. Ill. 2010) (“[T]he law of unjust enrichment varies too much from state to
state to be amenable to national or even to multistate class treatment”); In re Conagra Peanut
Butter Prods. Liab. Litig., 251 F.R.D. 689, 697 (N.D. Ga. 2008) (discussing “lack of uniformity
of unjust enrichment law” and “important variances, namely state of mind, the effect of implied
warranties, and direct benefit requirements”)) (other citations omitted).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 37 of 59 PageID: 481




The same rule applies in Plaintiffs’ home jurisdictions. 19

       The reason for this rule is simple, as the Second Circuit has explained:

          [V]irtually all product failures discovered in automobiles after
          expiration of the warranty can be attributed to a “latent defect”
          that existed at the time of sale or during the term of the
          warranty. All parts will wear out sooner or later and thus have
          a limited effective life. Manufacturers always have knowledge
          regarding the effective life of particular parts and the likelihood
          of their failing within a particular period of time. Such
          knowledge is easily demonstrated by the fact that manufacturers
          must predict rates of failure of particular parts in order to price
          warranties and thus can always be said to “know” that many
          parts will fail after the warranty period has expired. A rule that
          would make failure of a part actionable based on such
          “knowledge” would render meaningless time/mileage
          limitations in warranty coverage.
Abraham, 795 F.2d at 250.

       Plaintiffs’ vehicles came with a 4-year/50,000-mile (whichever comes first)

New Vehicle Limited Warranty covering repair or replacement of defects in

materials or workmanship. (CAC ¶ 45, 115.) Each Plaintiff’s vehicle experienced

the alleged defect more than 4 years or 50,000 miles after first use, which placed

19
    See Ocana v. Ford Motor Co., 992 So. 2d 319, 324 (Fla. Dist. Ct. App. 2008); Canal Elec.
Co. v. Westinghouse Elec. Co., 973 F.2d 988, 993 (1st Cir.1992) (Massachusetts law); Evitts v.
DaimlerChrysler Motor Corp., 834 N.E.2d 942, 950 (Ill. App. Ct. 2005) ; Taterka v. Ford Motor
Co., 271 N.W.2d 653, 657 (Wis. 1978) ; Abraham, 795 F.2d at 250 (New York law); Daugherty
v. Am. Honda Motor Co., 51 Cal. Rptr. 3d 118, 122-24 (Cal. Ct. App. 2006); Omni USA, Inc. v.
Parker-Hannifin Corp., 964 F. Supp. 2d 805, 828 (S.D. Tex. 2013); Dinwiddie v. Suzuki Motor
of Am., Inc., 111 F. Supp. 3d 1202, 1210 n.8 (W.D. Okla. 2015); Cent. Min., Inc. v. Simmons
Mach. Co., 547 So. 2d 529, 531 (Ala. 1989); Benson Tower Condo. Owners Ass’n v. Victaulic
Co., 2014 WL 5285475, at *8 (D. Or. Oct. 15, 2014); Frick Co. v. Boles, 84 S.E. 1017, 1018
(N.C. 1915); Regents of Univ. of Colorado ex rel. Univ. of Colorado at Boulder v. Harbert
Const. Co., 51 P.3d 1037, 1041 (Colo. App. 2001). Defendant’s research was unable to locate
Utah case law on this point, which is otherwise universally accepted.


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 38 of 59 PageID: 482




the vehicle out of warranty. As courts from Plaintiffs’ home states and across the

country have found, BMW NA cannot be held liable for breach of warranty for

alleged defects that manifest after the warranty period has expired.

       Plaintiffs’ implied-warranty claims fail for the same reason, because BMW

NA limited the duration of the any implied warranties to the duration of the

Limited Warranty. The UCC, as adopted in every state named in the Complaint,

permits both temporal and durational limits of implied warranties, as well as

limitations or exclusions of the implied warranty of merchantability. 20

       In relevant part, the Limited Warranty expressly provides:

          THE DURATION OF ANY IMPLIED WARRANTIES,
          INCLUDING    THE   IMPLIED   WARRANTY    OF
          MERCHANTABILITY, IS LIMITED TO THE DURATION
          OF THE EXPRESS WARRANTIES HEREIN. BMW NA
          HEREBY      EXCLUDES     INCIDENTAL    AND
          CONSEQUENTIAL DAMAGES, INCLUDING LOSS OF
          TIME, INCONVENIENCE, OR LOSS OF USE OF THE
          VEHICLE, FOR ANY BREACH OF ANY EXPRESS OR
          IMPLIED WARRANTY, INCLUDING THE IMPLIED
          WARRANTY OF MERCHANTABILITY, APPLICABLE TO
          THIS PRODUCT.
(See Dalton Decl., Exhibit D at 22.)

       BMW NA limited the duration of any implied warranties to the duration of

the express warranty. At the time Plaintiffs claim the alleged defect manifested in

20
    See N.J.S.A. 12a:2-316; 810 Ill. Comp. Stat. Ann. 5/2-316; Fla. Stat. Ann. § 672.316; Mass.
Gen. Laws Ann. Ch. 106, § 2-316; Utah Code Ann. § 70a-2-316; Tex. Bus. & Comm. Code
§ 2.316; Ala. Code § 7-2-316; Okla. Stat. Ann. Tit. 12a, § 2-316; Cal. Com. Code § 2316; Wis.
Stat. Ann. § 402.316; Or. Rev. Stat. Ann. § 72.3160; N.Y. U.C.C. Law § 2-316 (McKinney);
N.C. Gen. Stat. Ann. § 25-2-316.


                                              19
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 39 of 59 PageID: 483




their respective vehicles, the express warranty’s time-and-mileage limitations had

expired.    Therefore, Plaintiffs’ implied-warranty claims also fail and must be

dismissed. 21

B.     Plaintiffs’ Implied-Warranty Claims Additionally Fail Because They Do
       Not Plausibly Allege Their Vehicles Were Not Merchantable at the
       Time of Sale.
       The implied warranty of merchantability does not mean that a manufacturer

must produce a flawless product. 22                 Moreover, the implied warranty of

merchantability “applies to the condition of the goods at the time of sale and is

21
     See, e.g., McCalley v. Samsung Electronics America, Inc., 2008 WL 878402, at *7 (D.N.J.
Mar. 31, 2008) (“Plaintiff’s breach of implied warranty claim fails because the duration of the
implied warranty period is consistent with the express warranty period” which had expired)
(citing N.J. Transit Corp. v. Harsco, 497 F.3d 323, 330 (3d Cir. 2007) (holding N.J. Transit
could not “rely on the implied warranties of merchantability…where the contract’s one-year
express warranty had expired at the time of the loss.”)); see also Tague v. Autobarn Motors, Ltd.,
914 N.E.2d 710, 717-718 (Ill. App. Ct. 2009) (affirming dismissal of implied-warranty claim
where alleged problem did not manifest until after vehicle’s 3-year/36,000 mile warranty
expired); Brisson v. Ford Motor Co., 349 F. App’x 433, 434-35 (11th Cir. 2009) (“[P]laintiffs’
failure to allege that they experienced a defect within the warranty period of the three years or
36,000 miles is fatal. The district court properly dismissed the implied warranty claim
because…Ford limited the implied warranty to the period of the express warranty, as expressly
permitted by the MMWA, and plaintiffs failed to allege that a defect manifested itself or a breach
occurred within that period.”) (Florida law); Meserole v. Sony Corp. of Am., Inc., 2009 WL
1403933, at *9 (S.D.N.Y. May 19, 2009) (dismissing implied warranty claims and enforcing
disclaimer that stated any implied warranty of merchantability was limited to the duration of the
express warranty); Marchante v. Sony Corp. of Am., 801 F. Supp. 2d 1013, 1021 (S.D. Cal.
2011) (dismissing implied warranty claims because the “implied warranty here had a one year
duration to match that of the express warranty” but “Plaintiffs here do not report any issues
arising during the one year period. They did not bring suit until 2010, long after the implied
warranties had expired.”). There is no clear guidance under the law of the remaining Plaintiffs’
home states, though they have all adopted the same U.C.C. provisions.
22
     See, e.g., Greene v. BMW of N. Am., LLC, 2012 WL 5986457, at *3 (D.N.J. Nov. 28, 2012)
(“the implied warranty [of merchantability] comes nowhere close to guaranteeing perfection”);
cf. Theidemann v. Mercedes-Benz USA, LLC, 183 N.J. 234, 243, 251 (2005) (because “[d]efects
can, and do arise, with complex instrumentalities such as automobiles,” plaintiffs are not entitled
to a “motor vehicle without any flaws or glitches”).


                                               20
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 40 of 59 PageID: 484




breached only if the defect in the goods existed when the goods left the seller’s

control.” Lipinski v. Martin J. Kelly Oldsmobile, Inc., 759 N.E.2d 66, 75 (Ill. App.

Ct. 2001) (emphasis added). 23

       As this Court has previously determined, “The weight of authority, from

courts across the country, indicates that plaintiffs may not recover for breach of the

implied warranty of merchantability under the facts where plaintiffs have driven

their cars without problems for years.” Sheris v. Nissan North America, Inc., 2008

WL 2354908, at *5-6 (D.N.J. June 3, 2008) (dismissing implied-warranty claim

where vehicle had been driven two years and 20,000 miles without incident)

(quotation omitted) (citations omitted). This rule applies in Plaintiffs’ home states

as well. 24


23
    See also Monticello v. Winnebago Indus., Inc., 369 F. Supp. 2d 1350, 1360 (N.D. Ga. 2005)
(“proof that the product was defective when sold is an essential element to recover for breach of
the implied warranty of merchantability”) (citations omitted); accord Koch v. Kaz USA, Inc.,
2011 WL 2607112, at *4 (D. Colo. July 1, 2011).
24
    E.g., Zaffiri v. Pontiac RV, Inc., 2012 WL 7050429, at *8 (Ill. App. Ct. Sept. 11, 2012) (fact
that allegedly latent defect did not manifest until three years after purchase “suggests the defect
could have occurred over time and cuts against any inference the motor home’s walls were
defective at the time Pontiac sold it to plaintiffs”); Husky Indus., Inc. v. Black, 434 So. 2d 988,
991 (Fla. Dist. Ct. App. 1983) (“[L]iability for a breach of implied warranty of merchantability
must be based on proof that the product was not merchantable at the time of sale”) (citation
omitted); Collins v. Sears, Roebuck & Co., 583 N.E.2d 873, 874 (Mass. App. Ct. 1992) (“To
prevail on their theory that Sears committed a breach of implied warranty of merchantability
under G.L. c. 106, §§ 2-314 to 2-318, the plaintiffs had the burden of showing that a defect
existed in the dryer at the time of sale.”); Meserole, 2009 WL 1403933, at *9 (dismissing
implied warranty claim because alleged defect in television did not arise until two years after
sale); Wilborn v. CarMax Auto Superstores California, LLC, 2017 WL 6940653, at *9 (C.D. Cal.
Dec. 11, 2017) (dismissing California implied warranty claim where “Wilborn purchased a
seven-year-old vehicle that had over 50,000 miles on it at the time of purchase, has driven the car
for approximately three years, and has put an additional near-40,000 miles on the car.”); Arndt v.

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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 41 of 59 PageID: 485




       Plaintiffs here drove each of their cars for more than 4 years (and close to or

far more than 50,000 miles) before the alleged defect manifested. This substantial

span of time and miles between purchase and manifestation cuts against the claim

that the vehicles were defective at the time of sale. Plaintiffs’ implied-warranty

claims fail for this reason, as well. 25

                                      Point Four:
                       Plaintiffs’ Magnusson-Moss Claims Fail.
       The MMWA does not mandate that all consumer products be provided with

a written warranty; it simply supplies standards where a seller chooses to provide a

written warranty. 15 U.S.C. §§ 2303(a), 2304. The Act provides that “a consumer

who is damaged by the failure of a supplier, warrantor, or service contractor to



Extreme Motorcycles, 2007 WL 4570861, at *5 (W.D.N.C. Dec. 26, 2007) (dismissing implied
warranty claims because plaintiff did not show motorcycle was not merchantable at the time of
sale as he “used it without complaint for six months before the accident”); cf. Rolls Royce Motor
Cars, Inc. v. Houston Tractor Equip., Inc., 1992 WL 5546, at *5 (Tex. App. Jan. 16, 1992)
(“[B]reach of the implied warranty of merchantability occurs at the time of sale.”); Wait v.
Roundtree Mobile, LLC, 2015 WL 6964668, at *3 (S.D. Ala. Nov. 10, 2015) (same); Collins
Radio Co. of Dallas, Tex. v. Bell, 623 P.2d 1039, 1053 (Okla. Civ. App. 1980) (same); Shurtleff
v. Jay Tuft & Co., 622 P.2d 1168, 1174 (Utah 1980) (same). Defendant’s research was unable to
locate Oregon or Wisconsin case law on this point, which is otherwise universally accepted.
25
    Plaintiff Arat’s implied warranty claim under California’s Song-Beverly Act (Count XI) also
fails because privity is required to assert a breach of warranty claim under California law. “In
general, privity of contract is required in an action for breach of express warranty and breach of
implied warranty. There ‘is no privity between the original seller and a subsequent purchaser
who is in no way a party to the original sale.’” Tapia v. Davol, Inc., 116 F. Supp. 3d 1149, 1159
(S.D. Cal. 2015). Arat is not in privity with BMW NA because he purchased a used vehicle from
a third-party dealership or a private party – not from BMW NA. (CAC ¶ 13(p).) Thus, Arat’s
implied warranty claim fails. See Annunziato v. eMachines, Inc., 402 F. Supp. 2d 1133, 1141
(C.D. Cal. 2005) (citations omitted) (dismissing plaintiff’s implied warranty claim because he
purchased his laptop from BestBuy.com and not directly from eMachines). Count XI (on behalf
of the Song-Beverly Subclass) should be dismissed.


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 42 of 59 PageID: 486




comply with any obligation under this chapter, or under written warranty, implied

warranty, or service contract, may bring suit for damages and other legal and

equitable relief.” 15 U.S.C. § 2310(d)(1). Plaintiffs do not take issue with the

form of BMW NA’s written New Passenger Car Limited Warranty, that is, they do

not allege any violation of the MMWA’s procedural requirements. Rather, their

MMWA claims are an attempt to “federalize” their state-law warranty claims. 26

       While the MMWA provides a federal cause of action, it does not create a

federal “common law” of warranty; rather, state law governs warranty claims

brought under the MMWA except when explicitly modified by the MMWA’s

minimum standards. 27 Plaintiffs’ MMWA claims are the analog of their state-law

warranty claims. Because Plaintiffs’ state-law warranty claims fail, their MMWA

claims fail as well – i.e., Plaintiffs cannot bring MMWA claims because their

26
    In addition to being substantively flawed, as explained below, Plaintiff’s MMWA claim is
also procedurally flawed. To pursue an MMWA class action there must be at least one-hundred
named plaintiffs. 15 U.S.C. § 2310(d)(3)(C). MMWA claims brought by fewer than one-
hundred plaintiffs should be dismissed. E.g., Abraham, 795 F. 2d at 246. In Blumer v. Acu-Gen
Biolabs, Inc., 638 F. Supp. 2d 81 (D. Mass. 2009), the district court analyzed separately whether
plaintiffs had established jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C.
§ 1332(d) (amount in controversy) and MMWA (more than one-hundred plaintiffs and amount in
controversy). The court found that CAFA did not trump the MMWA’s 100-plaintif requirement.
This Court should follow Blumer’s example. The MMWA’s unambiguous jurisdictional
requirement of one-hundred named plaintiffs, adopted prior to CAFA’s more general provisions,
should govern, particularly given that CAFA did not specifically address the narrower
jurisdictional limitations contained in the MMWA. Plaintiffs’ Complaint identifies twenty
plaintiffs; they are thus eighty plaintiffs short of the MMWA’s jurisdictional requirement, and
their claims under the MMWA fail.
27
    Marcus, 2010 WL 4853308, at *7 (MMWA “does not itself provide any substantive law, but
rather imports state law on implied and express warranties”) (citation omitted); Schimmer v.
Jaguar Cars, 384 F.3d 402, 405 (7th Cir. 2004) (MMWA “allows consumers to enforce written
and implied warranties in federal court, borrowing state law causes of action”).


                                               23
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 43 of 59 PageID: 487




vehicles’ warranties had expired before the alleged defect manifested.28

                                   Point Five:
       All But One Of Plaintiffs’ Statutory Consumer-Fraud Claims Fail.
       Except for the claims of the New York Plaintiffs (Plaintiffs Guy, Zinn, and

Heyman), the remaining Plaintiffs’ consumer-protection claims, which are

predicated on fraudulent concealment and knowing omission, are subject to

Rule 9(b)’s fraud pleading standard.29 While Plaintiffs’ consumer-fraud claims are

governed by the substantive law of their home states, Rule 9(b)’s heightened

28
    E.g., Cooper v. Samsung Elecs. Am., Inc., 374 F. App’x 250, 254 (3d Cir. 2010) (“Cooper’s
[MMWA] claim is based upon his state law claims of breach of express and implied warranties.
Since the District Court correctly dismissed both of those claims, Cooper’s [MMWA] claim was
also properly dismissed.”); Woodson v. McGeorge Camping Ctr., Inc., 42 F.3d 1387 (4th Cir.
1994) (“[B]ecause the jury found in favor of the defendants on each of Woodson’s state law
warranty claims, there can be no basis for recovery under the MMWA.”); Clemens v.
DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008) (explaining that “claims under the
[MMWA] stand or fall with [plaintiff’s] express and implied warranty claims under state law.”).
29
    See Mladenov v. Wegmans Food Mkts., Inc., 124 F. Supp. 3d 360, 372 (D.N.J. 2015)
(Rule 9(b) applies to CFA claims) (citing F.D.I.C. v. Bathgate, 27 F.3d 850 (3d Cir. 1994));
Pirelli Armstrong Tire Corp. Retiree Medical Benefits Trust v. Walgreen Co., 631 F.3d. 441 (7th
Cir. 2011) (“When a plaintiff in federal court alleges fraud under the ICFA, the heightened
pleading standard of [Rule] 9(b) applies”) (citation omitted); Shaulis v. Nordstrom, Inc., 865
F.3d 1, 13 n.6 (1st Cir. 2017) (“A claim under [Mass. Gen. L.] Chapter 93A that involves fraud
is subject to the heightened pleading requirement.”) (citation omitted); Jovine v. Abbott Labs.,
Inc., 795 F. Supp. 2d 1331, 1343 n.9 (S.D. Fla. 2011) (finding that plaintiff failed to plead a
FDUTPA violation with Rule 9(b)’s requisite specificity) (citing Brooks v. Blue Cross & Blue
Shield of Fla., Inc., 116 F.3d 1364, 1370 (11th Cir. 1997)); see also Fisher v. Honda North
America, Inc., 2014 WL 2808188 (S.D. Cal. June 2, 2014) (applying Rule 9(b) to
fraud/omissions-based claims under UCL, FAL, and CLRA); Murillo v. Kohl’s Corp., 197 F.
Supp. 3d 1119 (E.D. Wis. 2016) (applying Rule 9(b) to fraud/omissions-based claims under
WDTPA); Kearney v. Equilon Enters., LLC, 65 F. Supp. 3d 1033 (D. Or. 2014) (applying
Rule 9(b) to fraud/omissions-based claims under OUTPA); Martinez v. Nash Finch Co., 886 F.
Supp. 2d 1212 (D. Colo. 2012) (applying Rule 9(b) to fraud/omissions-based claims under
CCPA); Jackson v. Philip Morris Inc., 46 F. Supp. 2d 1217 (D. Utah 1998) (applying Rule 9(b)
to fraud/omissions-based claims under UCSPA); Parrish v. Arvest Bank, 2016 WL 3906814
(W.D. Okla. July 14, 2016) (applying Rule 9(b) to fraud/omissions-based claims under OCPA);
cf. Barcal v. Emd Serono, Inc., 2016 WL 1086028 (N.D. Ala. Mar. 21, 2016) (pursuit of fraud
and misrepresentation claims waives ADTPA claim).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 44 of 59 PageID: 488




pleading requirements are procedural and therefore governed by Third Circuit and

District of New Jersey precedent. E.g., Weske v. Samsung Electronics America,

Inc., 934 F. Supp. 2d 698, 703 (D.N.J. 2013) (applying Rule 9(b) to consumer-

protection claims under California, Illinois, Minnesota, Ohio, and Washington

laws).

         In the consumer-fraud context, “Rule 9(b) requires a plaintiff to plead (1) a

specific false representation [or omission] of material fact; (2) knowledge by the

person who made it of its falsity; (3) ignorance of its falsity by the person to whom

it was made; (4) the intention that it should be acted upon; and (5) that the plaintiff

suffered an ascertainable loss as a result of the misrepresentation.” Alban, 2010

WL 3636253, at *9 (quotation omitted).

         Plaintiffs contend Defendants knew of the alleged defect in the timing chain

assemblies, but failed to inform them or take sufficient action to remedy it.

Plaintiffs base their assertion of knowledge on anonymous complaints posted to

NHTSA’s website (CAC ¶ 40); alleged “warranty claims, field investigations,

claims supervisors, customer complaints and monitoring of performance of class

vehicles by BMW LLC quality assurance employees” (id. ¶ 72); and assertions that

Defendants must have known of the alleged defect based on “the number of

replacement components and subsequent component revisions,” as well as

premature failures of “identical chain assembly components” in “predecessor


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 45 of 59 PageID: 489




models” of the Class Vehicles. (Ibid.)

       Countless courts have found these sorts of broad, generalized, and nebulous

allegations insufficient to establish a defendant’s “knowledge” of an alleged

defect.30 Plaintiffs’ statutory consumer-fraud claims are inadequately pled and

should be dismissed.

                                      Point Six:
                Plaintiffs’ Negligent-Misrepresentation Claims Fail.
       Plaintiffs    allege   that    BMW       NA     negligently     misrepresented       “the

characteristics of class vehicles with respect to engine materials, workmanship,

design and manufacture, including that the class engine had a sufficient and

adequate primary and secondary chain assemblies.”                  (CAC ¶ 400.)        A close

examination of Plaintiffs’ allegations throughout the CAC, however, reveals that


30
    See, e.g., Wilson v. Hewlett-Packard Co., 668 F.2d. 1136, 1146-47 (9th Cir. 2012) (rejecting
as conclusory allegation of knowledge of alleged defect based on access to “aggregate
information and data” regarding the alleged defect); Grodzitsky v. American Honda Motor Co.,
Inc., 2013 WL 690822 (C.D. Cal. Feb. 19, 2013) (“Plaintiffs’ generalized assertion that
unspecified ‘pre-release testing data’ and ‘aggregate data from Honda dealers’ fails to suggest
how this information could have informed Defendant of the alleged defect”); McQueen v. BMW
of N. Am., LLC, 2014 WL 656619, at *4 (D.N.J. Feb. 20, 2014) (conclusory allegations that
BMW NA had knowledge of the alleged defect by “consumer complaints” or “demands for
repair” provide no facts describing those complaints or demands); Luppino v. Mercedes-Benz
USA, LLC, 2010 WL 3258259, at *5 (D.N.J. Aug. 16, 2010) (“[A]llegations regarding the
experience of members of the putative class, in general, cannot fulfill the requirement of
pleading with adequate specificity.”); Rait v. Sears, Roebuck & Co., 2009 WL 2488155, at *4
(D.N.J. Aug. 11, 2009) (“[I]f Ms. Rait’s position is accepted [] virtually every consumer product
company would be subject to fraud claims and extensive discovery. All any plaintiff would be
required to show is that a product broke once and that someone had complained about it on the
internet”); Oestreicher v. Alienware Corp., 544 F. Supp. 2d 964, 974 (N.D. Cal. 2008)
(plaintiff’s allegation that defendant had “exclusive knowledge as the manufacturer” did not
support claim that defendant was aware of alleged defect).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 46 of 59 PageID: 490




the misrepresentations Plaintiffs assert are really omissions.31 Stripping away their

boilerplate recitations and conclusory allegations, Plaintiffs do not plead sufficient

facts detailing a single, affirmative misrepresentation made by BMW NA. Thus,

the thrust of Plaintiffs’ negligent misrepresentation claims is that BMW failed to

disclose the alleged defect. These misrepresentation-by-omission allegations are

inadequate as a matter of law.

A.     Plaintiffs’ Claims for Negligent Misrepresentation Fail Under Florida,
       California, and North Carolina Law.
       It is clearly established under Florida law that a claim for “[n]egligent

misrepresentation requires affirmative action on the part of the defendant.”32

California and North Carolina courts appear to require the same. 33

       Here, Plaintiffs do not identify an affirmative misrepresentation made by

BMW NA, and their repeated statements of BMW NA’s “failure” to provide




31
    See, e.g., id. ¶ 18 (“concealing defects”); ¶ 43 (“concealment of class vehicle defects and
omission of material facts”); ¶¶ 50-52 (“failed to inform”); ¶ 60 (“not revealed”); ¶ 71
(“knowingly and actively concealed”); ¶ 76 (“fraudulently concealed and/or actively
suppressed”); ¶ 107 (“fraudulently omitted”).
32
    HCM High Yield Opportunity Fund, LP v. Skandinaviska Enskilda Banken AB, 2001 WL
36186526, at *21 (S.D. Fla. Dec. 14, 2001) (citing Smith v. Cousins, 358 So. 2d 1158, 1159 (Fla.
Dist. Ct. App. 1978)); accord Pelican Ventures, LLC v. Azimut S.p.A., 2004 WL 3142550, at *13
(S.D. Fla. July 28, 2004)
33
    See Apollo Capital Fund, LLC v. Roth Capital Partners, LLC, 70 Cal. Rptr. 3d 199, 213 (Cal.
Ct. App. 2007) (“[A] a positive assertion is required; an omission or an implied assertion or
representation is not sufficient [to sustain a claim for negligent misrepresentation].”); Bonham v.
Wolf Creek Acad., 767 F. Supp. 2d 558, 570 (W.D.N.C. 2011) (“Finally, negligent omissions
(which appear to be what plaintiffs are claiming) as opposed to negligent misrepresentations
cannot form the basis of a claim for negligent misrepresentation under North Carolina law.”).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 47 of 59 PageID: 491




additional information are to no avail. 34 Accordingly, Count XX on behalf of the

purported Florida and California subclasses should be dismissed.35

B.     Plaintiffs’ Claims for Negligent Misrepresentation Fail Under the Laws
       of the Remaining Plaintiffs’ States Because BMW NA Did Not Have a
       Duty to Disclose Imposed by Law.
       Under     New      Jersey    law,    a    plaintiff   can    recover    for    negligent

misrepresentation by establishing a negligently made incorrect statement, upon

which he justifiably relied, and as a consequence of the reliance sustained

economic loss. 36 An act of omission can support a negligent misrepresentation

claim, see South Broward Hosp. Dist. v. MedQuist, Inc., 516 F. Supp. 2d370, 397

(D.N.J. 2007), but only when the breaching party owes an independent duty

imposed by law.” Alin v. Am. Honda Motor Co., 2010 WL 1372308, at *13-14

34
    See Ocasio v. C.R. Bard, Inc., 2015 WL 3496062, at *9 (M.D. Fla. June 3, 2015) (“Bard’s
alleged failure to provide additional truthful information does not satisfy any element of
negligent misrepresentation; to the contrary, Plaintiffs must establish that Bard made an
affirmative misrepresentation upon which Dr. Zweibel justifiably relied.”) (citation omitted);
Diediker v. Peelle Fin. Corp., 70 Cal. Rptr. 2d 442, 448 (Cal Ct. App. 1997) (citing Huber, Hunt
& Nichols, Inc. v. Moore, 136 Cal. Rptr. 603, 619 (Cal. Ct. App. 1977) (“No case has been cited
and we find none in which any court held that the doctrine of negligent misrepresentation applies
to Implied representations. In all cases a ‘positive assertion’ was involved.”); Breeden v.
Richmond Cmty. Coll., 171 F.R.D. 189, 202-03 (M.D.N.C. 1997) (“The Court has not been cited
to, nor has it located, a case wherein North Carolina has extended the tort of negligent
misrepresentation to cover ‘negligent omissions’…. The Court finds the tort of negligent
omission does not presently exist in North Carolina.”).
35
    The state of the law in Oregon with respect to negligent misrepresentation-by-omission
claims is unclear. BMW NA has been unable to find any Oregon authorities explicitly
establishing that an omission can support a claim for negligent misrepresentation. E.g., Onita
Pac. Corp. v. Trustees of Bronson, 843 P.2d 890, 895 (Or. 1992) (recognizing negligent
misrepresentation in Oregon but only discussing tort in context of affirmative representations).
36
    See McClellan v. Feit, 376 N.J. Super. 305, 317 (App. Div. 2005) (citing H. Rosenblum, Inc.
v. Adler, 93 N.J. 324, 334 (1983), superseded on other grounds by statute, Cast Art Industries,
LLC v. KPMG LLP, 209 N.J. 208 (2012)).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 48 of 59 PageID: 492




(D.N.J. Mar. 31, 2010) (citing Saltiel v. GSI Consultants, Inc., 170 N.J. 297, 315

(2002)).

       In New Jersey, a duty to disclose arises: (1) when a fiduciary relationship

exists between the parties; (2) when the transaction is intrinsically fiduciary in that

it calls for good faith and full disclosure; or (3) when one party expressly reposes a

special trust or confidence in the other. Ibid. This special, fiduciary relationship

giving rise to the duty to disclose is a question of law. See Salovaara v. Jackson

Nat. Life Ins. Co., 66 F. Supp. 2d 593, 602 (D.N.J. 1999), aff’d, 246 F.3d 289 (3d

Cir. 2001).37

       Massachusetts, Illinois, Colorado, New York, Utah, Texas, Alabama,

Oklahoma, Wisconsin, and Oregon also require a duty to disclose in order to

pursue a negligent-misrepresentation-by-omission claim. 38 As a matter of law, car


37
    Whether a duty to disclose exists is a question of law for the Court to decide. Plaintiffs’
passing assertions in the Complaint that BMW NA had such a duty, see CAC ¶¶ 77-78, are
unavailing.
38
    See First Marblehead Corp. v. House, 473 F.3d 1, 10 (1st Cir. 2006) (liability for
nondisclosure can arise “if, but only if, [defendant] is under a duty to the other to exercise
reasonable care to disclose the matter in question.”) (Massachusetts law) (citations omitted);
Dougherty v. Akzo Nobel Salt, Inc., 47 F. Supp. 2d 989, 992 (N.D. Ill. 1999) (“The Illinois
Supreme Court recently held that negligent misrepresentation requires a plaintiff to establish a
duty on the part of the defendant to communicate accurate information.”) (citation omitted);
Aclys Int’l v. Equifax, 438 F. App’x 689, 692 (10th Cir. 2011) (“an omission may be actionable
as a negligent misrepresentation where the defendant has a duty to disclose”) (Utah law); Mullen
v. Allstate Ins. Co., 232 P.3d 168, 174 (Colo. App. 2009) (“Because Allstate was not obligated to
provide information about other types of coverage…the district court correctly determined that
Allstate did not commit negligent misrepresentation by omission.”); JJM Sunrise Auto., LLC v.
Volkswagen Grp. of Am., Inc., 46 Misc. 3d 755, 786 (N.Y. Sup. Ct. 2014) (dismissing claim for
negligent misrepresentation because “Audi did not have a special duty of care owing to JJM” and
further explaining that in such a commercial, automotive case, the existence of a special

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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 49 of 59 PageID: 493




makers and distributors do not stand in a special, fiduciary relationship with car

buyers. “[T]he relationship between a car manufacturer and car buyer does not

give rise to a duty to disclose.” Miller v. Chrysler Grp. LLC, 2014 WL 12617598,

at *6 (D.N.J. June 30, 2014) (citations omitted). 39



relationship giving rise to such a duty regarding commercial speech would be “exceptional”);
Ironshore Europe DAC v. Schiff Hardin, LLP, 284 F. Supp. 3d 845, 855 (E.D. Tex. 2018)
(reasoning Texas law would recognize a negligent-misrepresentation-by-omission claim only
when the defendant “has a duty to speak and does not”); Cook’s Pest Control, Inc. v. Rebar, 28
So. 3d 716, 725 (Ala. 2009) (affirming dismissal of “negligent suppression” claim for lack of
duty to inform); Commercial Fin. Servs., Inc. v. Arthur Andersen LLP, 94 P.3d 106, 112 (Okla.
Civ. App. 2004) (reversing dismissal of negligent misrepresentation claim because “[i]n the
instant case, there is a special relationship between the parties.”); Byrum v. Brand, 268 Cal. Rptr.
609, 620 (Cal. Ct. App. 1990) (observing that “something more than an omission is required to
give rise to recovery on [a negligent misrepresentation] theory”); Betty Andrews Revocable Tr. v.
Vrakas/Blum, S.C., 779 N.W.2d 723, at *11 (Wis. App. Ct. 2009) (“As a general rule, silence or
a failure to disclose does not constitute misrepresentation unless the defendant had a duty to
disclose.”) (citing Ollerman v. O’Rourke Co., 288 N.W.2d 95, 99-100 (Wis. 1980)); Masood v.
Safeco Ins. Co. of Oregon, 365 P.3d 540, 564-65 (Or. App. Ct. 2015) (“[F]or the duty to avoid
making negligent misrepresentations to arise, the parties must be in a ‘special relationship,’ in
which the party sought to be held liable had some obligation to pursue the interests of the other
party.”).
39
    See also Stevenson v. Mazda Motor of Am., Inc., 2015 WL 3487756, at *9-10 (D.N.J. June 2,
2015) (car manufacturer had no duty to disclose alleged defect to car purchaser because “there
[were] no allegations to suggest that defendant did anything that would have encouraged Plaintiff
to place particular trust of confidence in it”); Coba v. Ford Motor Co., 2013 WL 244687, at *12
(D.N.J. Jan. 22, 2013) (“New Jersey Courts have found no special relationship between
individual consumers and automobile manufacturers that would impose a duty to disclose”);
Alin, 2010 WL 1372308, at *13-14 (“Alin does not allege that the parties are in a fiduciary or
intrinsically fiduciary relationship or that he reposed a special trust in Honda when he entered
into his lease. Instead, the facts alleged in the complaint indicate that the parties entered into an
arm’s length contract for the lease of his vehicle. Accordingly, [plaintiff’s allegations] that
Honda failed to disclose a defect during the sale, lease, or servicing of the Class Vehicles is
insufficient to state a claim for negligent misrepresentation by omission.”); Henderson v. Volvo
Cars of N. Am., LLC, 2010 WL 2925913, at *11-13 (D.N.J. July 21, 2010) (same); Green v.
GMC, 2003 WL 21730592, at *8 (N.J. Sup. Ct. App. Div. July 10, 2003) (“no fiduciary or
implied fiduciary relationship existed between plaintiffs and the manufacturers of their cars, and
since neither defendants nor the dealers from whom plaintiffs purchased their cars did anything
to encourage plaintiffs to repose special trust or confidence in their advice, thereby inducing
plaintiffs’ reliance”).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 50 of 59 PageID: 494




       Simply put, Plaintiffs here did not stand in a special, fiduciary relationship

with BMW NA, which is fatal to their ability to maintain a claim for negligent-

misrepresentation-by-omission. Count XX should be accordingly dismissed.

C.     Plaintiffs’ Claims for Negligent Misrepresentation Are Additionally
       Barred By The Economic-Loss Doctrine.
       Because BMW NA’s relationship with Plaintiffs is grounded in contract (the

New Vehicle Limited Warranty) and not a special, fiduciary relationship,

Plaintiffs’ claims for negligent misrepresentation are also barred by the economic-

loss doctrine.     “Under New Jersey law, a tort remedy does not arise from a

contractual relationship unless the breaching party owes an independent duty

imposed by law.” Saltiel, 170 N.J. at 315. Without such an independent duty, the

economic-loss doctrine bars contract claims disguised as tort claims in consumer

settings.40

       Courts from the remaining Plaintiffs’ states have likewise held that, unless

the defendant is “one who is in the business of supplying information for the

guidance of others in their business transactions,” in other words, standing in a

special, fiduciary role, a manufacturer cannot be held liable under a negligent-

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    See Boyes v. Greenwich Boat Works, Inc., 27 F. Supp. 2d 543, 551 (D.N.J. 1998) (explaining
how New Jersey Supreme Court “extended the economic loss doctrine to transactions which
could be characterized as consumer sales” because “to allow an exception for individual
consumers would defeat the legislative intent in enacting the U.C.C. ‘as the complete framework
of the rights and remedies available to the parties to a sale of goods contract.’”) (citing Alloway
v. Gen. Marine Indus., L.P., 149 N.J. 620 (1997) (consumer may not bring action in negligence
and strict liability for economic loss arising from purchase of defective product, but must rely on
UCC warranty remedies)).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 51 of 59 PageID: 495




misrepresentation theory for economic losses caused.41                   Plaintiffs’ negligent-


41
    Neptuno Treuhand-Und Verwaltungsgesellschaft Mbh v. Arbor, 692 N.E.2d 812, 818 (Ill.
App. Ct. 1998) (citing Moorman Manufacturing Co. v. National Tank Co., 435 N.E.2d 443 (Ill.
1982)). See also In re Takata Airbag Prod. Liab. Litig., 193 F. Supp. 3d 1324, 1338-39 (S.D.
Fla. 2016) (holding that Florida’s economic-loss rule bars a tort claim that “depends upon
precisely the same allegations as a warranty claim–i.e., a claim the product failed to work as
promised.”); Loosli v. City of Salem, 170 P.3d 1084, 1086 (Or. App. Ct. 2007) (en banc) (finding
“a plaintiff cannot maintain an action for purely economic loss based on a negligent
misrepresentation unless the defendant has breached a duty outside the common law of
negligence.”), aff'd, 193 P.3d 623 (Or. 2008); Sterling Chemicals, Inc. v. Texaco Inc., 259
S.W.3d 793, 797 (Tex. App. Ct. 2007) (“Under the economic loss rule, a plaintiff may not bring
a claim for negligent misrepresentation unless the plaintiff can establish that he suffered an
injury that is distinct, separate, and independent from the economic losses recoverable under a
breach of contract claim.”); Kelly v. Georgia-Pacific, LLC, 671 F. Supp. 2d 785, 791 (E.D.N.C.
2009) (“To pursue a [negligent misrepresentation claim], a plaintiff must allege a duty owed him
by the defendant separate and distinct from any duty owed under a contract….North Carolina
courts have ‘carefully circumscribed’ this independent duty requirement….[and] have developed
(and the Fourth Circuit has applied) the economic loss rule, which prohibits recovery for purely
economic loss in tort when a contract, a warranty, or the UCC operates to allocate risk.”)
(citations omitted); New York Disaster Interfaith Servs. Inc. v. Council of Peoples Org., Inc., 58
Misc. 3d 1212(A), at *6 (N.Y. Sup. Ct. 2018) (“[I]n New York, a claim for economic damages
based on negligent misrepresentations may proceed in the commercial context [only] if the
injured party can establish ‘a special relationship of trust or confidence between the parties
which creates a duty for one party to impart correct information to another’”); NuCal Foods, Inc.
v. Quality Egg LLC, 918 F. Supp. 2d 1023, 1028 (E.D. Cal. 2013) (a plaintiff can only avoid the
economic loss rule barring a negligent misrepresentation claim if the “defendant breaches a legal
duty independent of the contract” or “a special relationship existed between the parties”); Town
of Alma v. AZCO Const., Inc., 10 P.3d 1256, 1264 (Colo. 2000) (“[W]e now expressly adopt the
economic loss rule. We hold that a party suffering only economic loss from the breach of an
express or implied contractual duty may not assert a tort claim for such a breach absent an
independent duty of care under tort law.”); Donner v. Nicklaus, 778 F.3d 857, 872 (10th Cir.
2015) (dismissing negligent misrepresentation claim pursuant to Utah’s economic loss doctrine
because “the Donners have not adequately alleged that Mr. Nicklaus or Nicklaus Golf incurred a
duty outside of a contract.”) (citation omitted); Commercial Fin. Servs., Inc. v. Arthur Andersen
LLP, 94 P.3d 106, 112 (Okla. Civ. App. 2004) (reversing district court’s dismissal of negligent
misrepresentation claim because “[i]n the instant case, there is a special relationship between the
parties.”) (citing Stroud v. Arthur Andersen & Co., 37 P.3d 783, 794 (Okla. 2001)); Nycal Corp.
v. KPMG Peat Marwick LLP, 688 N.E.2d 1368, 1371 (Mass. 1998) (a plaintiff may recover for
negligent misrepresentation in the commercial context only if the defendant is obligated under a
necessary “duty of care”); Vesta Fire Ins. Corp. v. Milam & Co. Const., 901 So. 2d 84, 106-07
(Ala. 2004) (explaining that under Alabama law, “[t]he economic-loss rule prevents tort recovery
when a product damages itself, causing economic loss, but does not cause personal injury or
damage to any property other than itself.”). Kailin v. Armstrong, 643 N.W.2d 132, 146 (Wis.
App. Ct. 2002) (under Wisconsin law, the only exception to the economic loss doctrine occurs

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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 52 of 59 PageID: 496




misrepresentation claims are plainly barred by the economic-loss doctrine under

the various Plaintiffs’ states laws.           Accordingly, Count XX should also be

dismissed on the basis of the economic-loss doctrine.

                                      Point Seven:
                      Plaintiffs’ Unjust-Enrichment Claims Fail.
       Plaintiffs seek to pursue claims for unjust enrichment under their respective

states’ laws.     However, their unjust-enrichment claims are fatally flawed for

various reasons:

   • The majority of Plaintiffs’ home jurisdictions do not permit a claim for
     unjust enrichment where, as here, an adequate legal remedy exists. 42


when a plaintiff claims intentional misrepresentation; claims for “a negligent misrepresentation
that induced a contract,” on the other hand, are always barred by the doctrine) (citing Prent
Corp. v. Martek Holdings, Inc., 618 N.W.2d 201, 205 (Wis. Ct. App. 2000)).
42
     See, e.g., Carter v. L’Oreal USA, Inc., 2017 WL 3891666, at *3 (S.D. Ala. Sept. 6, 2017)
(“When there is no dispute between the parties that an express warranty exists and a plaintiff
alleges a breach of the express warranty, that plaintiff cannot also allege an unjust enrichment
claim.”) (citation omitted); W. Ridge Grp., LLC v. First Trust Co. of Onaga, 414 Fed. App’x
112, 120 (10th Cir. 2011) (under Colorado law, unjust enrichment “is a remedy designed for
circumstances in which other remedies are unavailable. As such, it is not available as a mere
alternative legal theory when the subject is covered by an express contract.” (citing Interbank
Investments, LLC v. Eagle River Water & San. Dist., 77 P.3d 814, 819 (Colo. App. 2003));
Jovine, 795 F. Supp. 2d at 1331 (“the Court must dismiss Plaintiff’s claim for unjust enrichment
because he does not lack an adequate legal remedy.”) (citation omitted); Am. Honda Motor Co.,
Inc. v. Motorcycle Info. Network, Inc., 390 F. Supp. 2d 1170, 1178 (M.D. Fla. 2005) (“It is well
settled in Florida that unjust enrichment is an equitable remedy and is, therefore, not available
where there is an adequate legal remedy.”) (footnote omitted); Aronstein v. Mass. Mut. Life Ins.
Co., 2016 WL 1626835, at *3 (D. Mass. Apr. 22, 2016) (granting motion to dismiss, noting,
“because there is a valid and enforceable contract, Plaintiff’s unjust enrichment claim must
fail.”); Goldemburg v. J&J Consumer Cos., 8 F. Supp. 3d 467, 483-84 (S.D.N.Y. 2014)
(dismissing unjust-enrichment claim because “not available where it simply duplicates, or
replaces, a conventional contract or tort claim.”) (quotation omitted) (citations omitted); U.S.
Bank N.A. v. Sofield, 2017 WL 2569740, at *4 (W.D.N.C. June 13, 2017) (dismissing unjust-
enrichment claim, noting, “although a plaintiff may allege alternative theories of recovery, the
ability of a party to raise an unjust enrichment claim in the alternative to a breach of contract
claim . . . rests on the absence of evidence establishing the existence of an express contract.

                                               33
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 53 of 59 PageID: 497




   • New Jersey and California require a direct transaction between the plaintiff
     and the defendant.43 Yet none of the New Jersey or California Plaintiffs
     claims to have purchased from BMW NA; rather, each alleges he purchased
     from an independent BMW Center or third-party seller. (See CAC, ¶¶ 13(a)-
     (c), (p).)

   • Illinois does not recognize an independent cause of action for unjust
     enrichment; rather, it stands or falls based upon a plaintiff’s other fraud-
     based claims. 44 Because the Illinois plaintiff’s other fraud-based claims fail,

Here, U.S. Bank attaches the [contract] to its own complaint and relies on provisions of the”
contract to support its claims) (citations omitted) (quotations omitted); Tillman v. Camelot
Music, Inc., 408 F.3d 1300, 1309 (10th Cir. 2005) (affirming district court’s dismissal of unjust-
enrichment claims; “Oklahoma law provides that courts are not to invoke their equitable
jurisdiction when an adequate legal remedy is available.”) (citation omitted); Harney v.
Associated Materials, LLC, 2018 WL 468303, at *4 (D. Or. Jan. 18, 2018) (although the parties
disputed the viability of warranty claim, “[n]either party disputes that the express warranty that
Plaintiffs have pleaded and attached to their Second Amended Complaint is a legally enforceable
contract. Because there is a legally enforceable contract in the form of an express warranty, and
because [] Oregon… do[es] not allow unjust enrichment claims to be pleaded as an alternate
theory of recovery when a valid contract exists, Plaintiffs’ unjust enrichment claim cannot
survive.”)(citations omitted); Coghlan v. Wellcraft Marine Corp., 240 F.3d 449, 454 (5th Cir.
2001) (affirming district court’s dismissal of unjust-enrichment claim; “In Texas, unjust
enrichment is based on quasi-contract and is unavailable when a valid, express contract
governing the subject matter of the dispute exists.”) (citations omitted); FDIC v. Aviano, 184 F.
Supp. 3d 1276, 1292 (D. Utah 2016) (dismissing unjust-enrichment claim where complaint
identified contract “because unjust enrichment is designed to provide an equitable remedy where
one does not exist at law, the doctrine may be invoked only when no express contract is present
that governs the remedies available to an injured party.”) (citation omitted) (quotation omitted)
Harley Marine Svs., Inc. v. Manitowoc Marine Grp., LLC, 759 F. Supp. 2d 1059, 1062-63 (E.D.
Wis. 2010) (“where a plaintiff asserts a breach of contract claim and fails to allege any facts from
which it could at least be inferred that the contract on which that claim is based might be invalid,
the plaintiff is precluded from pleading in the alternative claims that are legally incompatible
with the contract claim.”).
43
    See, e.g., Maniscalco v. Brother Int’l Corp. (USA), 627 F. Supp. 2d 494, 505-06 (D.N.J.
2009) (dismissing unjust-enrichment claim against manufacturer where consumer purchased
product from non-party retailer) (New Jersey law); Gray, 22 F. Supp. 3d at 386 (same)
(California law).
44
    See, e.g. Cleary v. Philip Morris, Inc., 656 F.3d 511, 517 (7th Cir. 2011) (under Illinois law,
unjust enrichment is ordinarily based on “another claim against the defendant in tort, contract, or
statute. So, if an unjust enrichment claim rests on the same improper conduct alleged in another
claim, then the unjust enrichment claim will be tied to this related claim– and, of course, unjust
enrichment will stand or fall with the related claim.”) (citation omitted) (footnote omitted);
Siegel v. Shell Oil Co., 612 F.3d 932, 937 (7th Cir. 2010) (same); Walsh Chiropractic, Ltd. v.
Stratacare, Inc., 752 F. Supp. 2d 896, 909 (N.D. Ill. 2010) (same). Some California courts have

                                                34
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 54 of 59 PageID: 498




       so, too, does the Illinois unjust-enrichment claim.
For these reasons, Plaintiffs’ unjust-enrichment claims should be dismissed.

                                  Point Eight:
     Plaintiffs’ Claims for Injunctive and Declaratory Relief are Moot and
          Duplicative of Their Legal Claims and Should be Dismissed.
       Plaintiffs contend that there is a “justiciable dispute” about whether the

timing chains “should be covered under the Limited Powertrain Warranty 45 and/or

New Vehicle Limited Warranty accompanying class vehicles.”                   (CAC ¶ 437.)

Plaintiffs seek a declaration that “going forward the remedial and/or replacement

work necessary to correct the defective chain assemblies incorporated in class

engines together with all resulting damages are covered warranty claims.” (CAC

¶ 438.) This request for “declaratory” relief is both moot and duplicative of the

relief Plaintiffs seek in their legal claims.

       It’s moot because damage to the timing chains and associated components is

already covered under the New Vehicle Limited Warranty (and, now, the 7-

year/70,000-mile      extension).        Furthermore,      insofar    as   Plaintiffs   seek

reimbursement as a form of declaratory relief, that claim is moot due to the

already-existing reimbursement program.             This count is duplicative because

Plaintiffs’ warranty and consumer-fraud claims seek precisely the same relief, that

held that unjust enrichment is not an independent cause of action. E.g. Nordberg v. Trilegiant
Corp., 445 F.Supp.2d 1082, 1100 (N.D. Cal. 2006) (“The state and the federal courts appear to
be unclear whether in California a court may recognize a claim for ‘unjust enrichment’ as a
separate cause of action.”) (collecting cases).
45
    BMW NA does not offer a “Limited Powertrain Warranty.”


                                             35
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 55 of 59 PageID: 499




is, a finding that there is a common defect which BMW NA should be required to

remedy as “covered warranty claims.” (CAC ¶ 438.) Thus, if Plaintiffs prevailed

on their legal claims, they would obtain the relief they seek in this declaratory-

judgment count.      Indeed, Plaintiffs recognize as much, asserting that “[t]his

remedy is authorized under the consumer fraud statutes of New Jersey together

with all other states that grant each respective proposed class representative and

proposed class member the right to seek injunctive or declaratory relief for

violations of their respective state’s consumer fraud statutes.” (CAC ¶ 440.)

      Courts have found declaratory relief duplicative in analogous circumstances.

For example, in Maniscalco v. Brother Int’l Corp., in addition to their legal claims,

plaintiffs sought a declaratory judgment that defendant’s “conduct violates the

[NJCFA]...and [defendant] is obligated to reimburse class members for the cost of

repairing and/or replacing” the allegedly defective machines. 627 F. Supp. 2d at

504. The court granted defendant’s motion to dismiss this claim, finding that the

“declaration Plaintiffs seek… is duplicative of a favorable finding for Plaintiffs on

their CFA claims. If there is a finding in favor of Plaintiffs on their CFA claims,

then an actual judgment, rather than a mere declaration, would be entered….Unless

Plaintiffs identify a basis in the CFA whereby the Court must grant declaratory

relief as a prerequisite for a finding of liability, the Court need not issue a separate

declaratory judgment on the merits of the action.” Id. at 505. Likewise, Plaintiffs’


                                          36
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 56 of 59 PageID: 500




request for declaratory relief here is subsumed in their legal claims, and should be

dismissed. 46

                                    Point Nine:
         Various of the Plaintiffs’ Claims Fail and Should be Dismissed.

A.     The Claims of Gelis, Henderson, and Lash Should be Dismissed. 47
       Illinois Plaintiff Gelis alleges that in July 2013 he purchased a model year

2013 BMW 328i, that the timing-chain assembly failed in August 2017 at 65,000

miles, and that BMW NA replaced his engine for free.                           (CAC ¶ 13(d).)

Nonetheless, he seeks to pursue his various claims because he alleges he spent

$500 for “alternative transportation.” (Ibid.) Gelis’s claims should be dismissed

because terms and conditions of BMW NA’s warranty, which also apply to the

warranty extension, exclude such consequential damages.                    (See Dalton Decl.,

Exhibit D.)

       Colorado Plaintiff Henderson purchased a used model year 2013 BMW

vehicle on March 2016. (CAC ¶ 13(j).) In October 2017, at 58,000 miles, her

timing-chain assembly failed, and she alleges that she incurred $10,000 in costs to

46
    See Fancaster, Inc. v. Comcast Corp., 832 F. Supp. 2d 380, 427 (D.N.J. 2011) (entering
summary judgment on duplicative declaratory-judgment claim); see also Thunander v. Uponor,
Inc., 2012 WL 3430749, at *22 (D. Minn. Aug. 14, 2012) (holding plaintiff’s declaratory-
judgment count, which duplicated the allegations in plaintiff’s other claims, failed as a matter of
law because other adequate legal remedies existed); Miami Valley Mobile Health Services, 852
F. Supp. 2d 925, 938-39 (S.D. Ohio 2012) (dismissing declaratory-judgment claim as duplicative
of plaintiffs’ breach-of-contract claims).
47
    Because they are the only class members from Illinois, Colorado, and Oregon, Counts V,
XIII, and XVI of the CAC, alleging violations of those states’ consumer-protection laws, must
also be dismissed.


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 57 of 59 PageID: 501




repair her vehicle. (Ibid.) Oregon Plaintiff Lash purchased a new model year 2013

BMW X3 in April 2013. (CAC ¶ 13(r).) Lash claims his vehicle’s timing-chain

assembly failed in August 2017 with 45,000 miles on the odometer, causing him to

incur $3,045 to repair his vehicle.              (Ibid.)    These claims fall within the

reimbursement program BMW NA has offered in connection with the warranty

extension, but neither Plaintiff alleges he or she sought recovery under that

program or was denied recovery under that program. Because neither Plaintiff has

sought recovery under an available remedy, their claims should be dismissed.48

B.     The Claims of Zinn and Richardson Should be Dismissed.
       Neither New York Plaintiff Zinn nor North Carolina Plaintiff Richardson

alleges his vehicle has experienced a timing-chain failure of any sort. Neither Zinn

nor Richardson alleges any out-of-pocket loss.               Neither Zinn nor Richardson

alleges any harm at all. Rather, each is suing essentially for “fear of failure.” But,

as explained above, damages are essential to claims for breach of warranty,

48
    See Fiberglass Component Production, Inc. v. Reichhold Chem., Inc., 983 F. Supp. 948, 953
(D. Colo. 1997) (“To recover for breach of express warranty, a plaintiff must prove that: 1) a
warranty existed; 2) the defendant breached the warranty; 3) the breach proximately caused the
losses claimed as damages; and 4) timely notice of the breach was given to defendant.”)
(citations omitted) (emphasis added); CHMM, LLC v. Freeman Marine Equip., Inc., 2013 WL
3025137, at *3 (D. Or. May 14, 2013) (“‘The elements of a cause of action for breach of
warranty are: (1) a warranty; (2) breach of that warranty; (3) notice to the warrantor of the
breach; and (4) damages proximately caused by the breach.’”) (quoting Wagner Tractor, Inc. v.
Shields, 381 F2d 441, 443-44 (9th Cir 1967)) (emphasis added); see also Green v. Green
Mountain Coffee Roasters, 279 F.R.D. 275, 281 (D.N.J. 2011) (“Because Plaintiff has not
availed himself of Defendants’ warranty he cannot allege that the warranty does not address the
defect in his machine”); cf. Theidemann, 183 N.J. at 251 (“defects that arise and are addressed by
warranty, at no cost to the consumer, do not provide the predicate ‘loss’ that the CFA expressly
requires for a private claim under the CFA.”).


                                               38
Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 58 of 59 PageID: 502




consumer fraud, negligent misrepresentation, or unjust enrichment. Neither Zinn

nor Richardson alleges damages and, therefore, their claims should be dismissed.

C.     Plaintiff Malske’s Claim Under the Wisconsin Deceptive Trade
       Practices Act Should Be Dismissed.
       As Wisconsin Plaintiff Malske acknowledges (CAC ¶ 323), the Wisconsin

Deceptive Trade Practices Act (WDTPA), Wis. Stat. §100.18, et seq., is limited

strictly to affirmative misrepresentations.49 Yet Plaintiffs only allege omissions

and concealment.         Therefore, Malske’s WDTPA claim fails and should be

dismissed. See Tietsworth v. Harley Davidson, Inc., 677N.W.2d 233, 245 (Wis.

2004) (“plaintiffs’ case is premised primarily on the allegation that Harley failed to

disclose the alleged motorcycle engine defect.                A nondisclosure is not an

‘assertion, representation or statement of fact’ under [the WDTPA]. Silence[–]an

omission to speak[–] is insufficient to support a claim under” the WDTPA)).

D.     Plaintiff Stovall’s Claim Under the Alabama Deceptive Trade Practices
       Act Should Be Dismissed.
       Alabama Plaintiff Stovall seeks to pursue claims under the Alabama

Deceptive Trade Practices Act (ADTPA) and for negligent misrepresentation.


49
    See Wis. Stat. § 100.18(1) (“No person…shall make, publish, disseminate, circulate, or place
before the public…an advertisement, announcement, statement or representation of any kind
…which…contains any assertion, representation, or statement of fact which is untrue, deceptive,
or misleading.”); Novell v. Migliaccio, 749 N.W.2d 544, 552 (Wis. 2008) (to prevail on a
WDTPA claim, “the plaintiff must prove three elements: (1) the defendant made a representation
to the public with the intent to induce an obligation, (2) that the representation was untrue,
deceptive or misleading, and (3) that the representation caused the plaintiff a pecuniary loss.”)
(quotations omitted) (citation omitted).


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Case 2:17-cv-07386-CLW Document 26-2 Filed 04/16/18 Page 59 of 59 PageID: 503




However, he cannot do both: Under the ADTPA’s election-of-remedies provision,

Ala. Code § 8-19-15, he cannot pursue a common-law claim for negligent-

misrepresentation if he is pursuing a claim under the ADTPA, and vice-versa.

Stovall’s ADTPA claim should be dismissed. 50

                                      CONCLUSION
       For the reasons explained above, Plaintiffs’ claims for breach of warranty,

consumer fraud, negligent misrepresentation, unjust enrichment, and injunctive or

declaratory relief fail and should be dismissed. And, even if they’re not, in no way

could Plaintiffs pursue a nationwide class action under New Jersey law, and their

request for such relief must be dismissed.

                                        Respectfully submitted,
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Dated: April 16, 2018                   BMW of North America, LLC




50
    If Stovall elects to pursue an ADTPA claim, he should also be prohibited from pursuing it on
a classwide basis, as the statute forbids private class actions. Ala. Code § 8-19-10(f).


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